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                             EXHIBIT 12
Case: 1:21-cv-04595 Document #: 81-12 Filed: 03/03/23 Page 2 of 42 PageID #:850




           Transcript of James E. Yurgealitis
                      Thursday, November 17, 2022

          Cutberto Viramontes, et al. v. The County of Cook, et al.




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                             Reference Number: 122447
James E. Yurgealitis                                                               11/17/2022
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  1                IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
  2
       CUTBERTO VIRAMONTES, et                     )
  3    al.,                                        )
                                                   )
  4                                                )
                      Plaintiffs,                  )
  5                                                )     Case No.
                vs.                                )     1:21-cv-04595
  6                                                )
       THE COUNTY OF COOK, et                      )
  7    al.,                                        )
                                                   )
  8                                                )
                Defendants.                        )
  9    _________________________
 10

 11

 12                   The deposition of JAMES E. YURGEALITIS,
 13    called by the Plaintiffs for examination, taken
 14    remotely via WebEx and taken pursuant to the
 15    Federal Rules of Civil Procedure of the United
 16    States District Courts pertaining to the taking
 17    of depositions, taken before Marianne Nee, a
 18    Certified Stenographic Reporter of the State of
 19    Illinois, CSR License No. 084-002341, taken on
 20    Thursday, November 17, 2022, commencing at 9:38
 21    a.m. Central.
 22

 23

 24    JOB NO. 122447
 25

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James E. Yurgealitis                                                               11/17/2022
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                                                                                 Page 2 (2 - 5)
                                            Page 2                                            Page 4
 1 REMOTE APPEARANCES:                               1
                                                          P R O C E E D I N G S:
 2 ON BEHALF OF THE PLAINTIFFS:              2
                                                              ***
 3   COOPER & KIRK PLLC                      3
     1523 New Hampshire Avenue, N.W.
                                                        (Witness sworn/affirmed.)
 4   Washington, D.C. 20036                  4
     BY: MR. WILLIAM V. BERGSTROM, ESQ.
                                                          JAMES E. YURGEALITIS,
 5   (202) 220-9600                          5
     wbergstrom@cooperkirk.com
                                               called as a witness herein, having been first
 6                                           6
   ON BEHALF OF THE DEFENDANTS:
                                               duly sworn/affirmed, was examined and testified
 7                                           7
     COOK COUNTY STATE'S ATTORNEY'S OFFICE 8
                                               as follows:
 8   500 Richard J. Daley Center
     50 W. Washington, 5th Floor
                                                            EXAMINATION
 9   Chicago, Illinois 60602                 9
     BY: MR. DAVID A. ADELMAN, ESQ.
                                               BY MR. BERGSTROM:
10   (312) 603-3151                         10
     david.adelman@cookcountyil.gov
                                                  Q. Again, thank you for being here today,
11                                          11
                                               Mr. Yurgealitis. Have you been deposed before?
12 EXHIBIT TECHNICIAN:                      12
                                                  A. Yes.
13   MR. RANDY WHITE                        13
                                                  Q. Okay. Have you done any Zoom
14   In affiliation with TrustPoint One     14
                                               depositions before?
15                                          15
                                                  A. I've done telephonic depositions but no
16                                          16
                                               Zoom depositions.
17                                          17
                                                  Q. Okay. So you'll be familiar with most
18                                          18
                                               of what I'm about to say, but I'm going to run
19                                          19
                                               over it anyway. A deposition is, of course, a
20                                          20
                                               conversation between the two of us under oath
21                                          21
                                               and it's being recorded is the main thing, so we
22                                          22
                                               have to be careful not to talk over each other.
23                                          23
                                                     I'll do my part by waiting until you
24                                          24
   REPORTED BY: MARIANNE NEE, CSR, CRR, RDR 25
                                               finish answering my question before I ask the
25        Illinois CSR No. 084-002341          next one. If you could do the same thing and
                                            Page 3                                            Page 5
 1     TABLE OF CONTENTS                             1
                                                    wait until I finish asking it to answer, that
 2 WITNESS              PAGE                      2
                                                    would be very helpful. Please keep your answers
 3 JAMES E. YURGEALITIS                           3
                                                    to yeses and nos, not head shakes or head nods,
 4 By Mr. Bergstrom      4                        4
                                                    things like that.
 5                                                5
                                                           If you need a break at any point -- I
 6                                                6
                                                    just kind of like going once I get started on
 7           EXHIBITS                             7
                                                    these things -- so if I'm just going for too
 8 NUMBER               DESCRIPTION MARKED/FIRST 8 long and you need a break, just let me know. We
 9
                           REFERENCE              9
            Deposition   Exhibits
                                                    can take a break whenever. I just ask that you
10                                               10
   Exhibit 1 Expert Report of James E. 6
                                                    let me finish my question if there is a question
11        Yurgealitis, September 14,             11
          2022
                                                    pending.
12                                               12
   Exhibit 2 Cook County Ordinance      21
                                                           Does that all make sense?
13                                               13
   Exhibit 3 Springfield Armory, five 35
                                                       A. Yes.
14        pages                                  14
                                                       Q. And similarly, if I ask a question that
15 Exhibit 4 Springfield Armory, six   38        15
          pages
                                                    gets confusing or that you just would like me to
16                                               16
   Exhibit 5 CBS News misinformation      82
                                                    rephrase, please let me know. I'm happy to do
17        only facilitates                       17
          misunderstanding, PDF
                                                    that, but if you don't tell me that you don't
18                                               18
                                                    understand a question, I'm going to assume that
19                                               19
                                                    you understood it and your answer was responsive
20                                               20
                                                    to my question.
21            --oOo--                            21
                                                           Does that make sense?
22                                               22
                                                       A. Yes.
23                                               23
                                                       Q. Is there any reason that you can't
24                                               24
                                                    testify truthfully today?
25                                               25
                                                       A. No.
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                                           www.TP.One                                 (800.367.3376)
James E. Yurgealitis                                                               11/17/2022
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                                                                                 Page 3 (6 - 9)
                                             Page 6                                                  Page 8
 1    Q. Okay. Well, I think that's all we need       1 looks to me like you began with the Department
 2 to do to start it off.                             2 of State in 1986 working for the Diplomatic
 3        MR. BERGSTROM: I'm going to pull up --      3 Security Service; is that correct?
 4     have Randy pull up the first exhibit here      4     A. Correct.
 5     which should be Viramontes 4144, Randy, in     5     Q. What were your duties when you were at
 6     the folder I sent you. Do you have a            6 the DSS?
 7     physical copy there with you?                   7    A. They are delineated in that document.
 8        DOCUMENT TECHNICIAN: What's it called?       8 However, I conducted criminal investigations in
 9        MR. BERGSTROM: I think the file name         9 regard to crimes that are under the jurisdiction
10     should begin Viramontes 4144.                  10 of the Department of State Diplomatic Security
11        DOCUMENT TECHNICIAN: Found it.              11 Service. I worked protective details on both
12                 (Exhibit 1 was marked for          12 foreign -- visiting foreign and U.S. protectees
13                 identification.)                   13 both domestically and overseas, and for two of
14 BY MR. BERGSTROM:                                  14 the years that I was there I was assigned full
15    Q. This is your expert report,                  15 time to the Secretary of State's protective
16 Mr. Yurgealitis. So on page 1 here under the --    16 detail.
17 first of all, do you recognize this document?      17    Q. And when you say you investigated
18    A. Yes.                                         18 crimes that fall under the Diplomatic Security
19    Q. And you see that it says Viramontes          19 Service's jurisdiction, what sort of crimes?
20 004144 in the lower right-hand corner?             20 Are those just crimes involving people who you
21    A. Yes.                                         21 were protecting or what kind of crimes fall into
22    Q. Okay. So on the first page it says:          22 that?
23        "I have been retained by Cook County,       23       MR. ADELMAN: Excuse me, Will. Do you
24     Illinois, State's Attorney, to render my       24     have any objection if I give him the hard
25     expert opinion on the firearms-related         25     copy of the exhibit that you have on the
                                             Page 7                                                   Page 9
 1                                                   1
       issues raised by the plaintiffs in this            screen.
 2                                                   2
       case."                                                MR. BERGSTROM: No, none whatsoever.
 3                                                   3
          Who asked you to provide your opinion              MR. ADELMAN: Okay. Just so the record
 4                                                   4
   in this case?                                          is clear, I think it's the -- we've got the
 5                                                   5
      A. Mr. Adelman contacted me initially.              Bates number. I'm sorry. Go ahead.
 6                                                   6
      Q. Okay. And in preparing to present the         BY THE WITNESS:
 7                                                   7
   expert report in this case, did you talk to            A. Your question was in regard to what
 8                                                   8
   anybody other than counsel about your               crimes I investigated when --
 9                                                   9
   involvement in this case?                           BY MR. BERGSTROM:
10                                                  10
      A. I've spoken to my wife about it.                 Q. Yeah. What sort of crimes fell within
11                                                  11
      Q. Okay. Would you -- did you have               your jurisdiction when you were in the DSS?
12                                                  12
   assistance in preparing your report?                   A. Passport and visa fraud primarily.
13                                                  13
      A. No.                                           There were also investigations in conjunction
14                                                  14
      Q. Okay. Did you -- so you prepared the          with other agencies involving international
15                                                  15
   first draft and all the drafts of the report?       weapons or international arms shipments.
16                                                  16
      A. I prepared each draft, sent it to the            Q. What sort of international arms
17                                                  17
   Cook County State's Attorney's office, we           shipments? Could you explain a little more
18
   discussed the content, and then I continued with 18 about what that was like?
19                                                  19
   further drafts.                                        A. There are certain articles considered
20                                                  20
      Q. Okay. Understood. So I think I'd like         Articles of War or weapons systems that you
21
   to skip down to page 33 of this document which 21 cannot export to foreign countries from the
22                                                  22
   is your résumé, Mr. Yurgealitis.                    United States. I couldn't tell you exactly
23                                                  23
          Before we get into the details of the        which weapons systems were involved, but they
24                                                  24
   report which we'll get into, I want to talk         involved whether or not you could legally sell
25                                                  25
   about your career in law enforcement. So it         certain articles of equipment to foreign
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                                            www.TP.One                                        (800.367.3376)
James E. Yurgealitis                                                               11/17/2022
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                                                                               #:8544 (10 - 13)
                                                    Page 10                                                        Page 12
 1                                                             1
   entities.                                                        Q. Okay. But there were -- I mean, there
 2                                                             2
      Q. Okay. And then in 1990 it looks like                    were shotguns and rifles occasionally?
 3                                                             3
   you moved to ATF; is that right?                                 A. There were shotguns and rifles seized
 4                                                             4
      A. Yes.                                                    as well.
 5                                                             5
      Q. And what were your -- and you were in                      Q. Okay. Were there any -- do you have
 6                                                             6
   the Baltimore Field Office right when you                     any sense of how -- I guess since you can't give
 7                                                             7
   started in 1990; is that correct?                             a statistical breakdown, but do you have a
 8                                                             8
      A. That's correct.                                         ballpark figure of how frequently semiautomatic
 9                                                             9
      Q. What were your duties when you were in                  rifles were seized?
10                                                            10
   the Baltimore Field Office of ATF?                               A. Rarely.
11                                                            11
      A. Most of our investigative duties in the                    Q. Were there any types of criminals from
12                                                            12
   Baltimore Field Division were either task force               whom you likely seized more than -- I mean, was
13                                                            13
   activities conducted in conjunction with other                there a type of crime where semiautomatic rifles
14                                                            14
   state, local and federal agencies, or individual              were preferred maybe?
15                                                            15
   cases as they may have come up mostly having to                  A. I don't have an answer for you in that
16                                                            16
   do with armed career criminals and possession of              regard.
17                                                            17
   firearms, individuals who were using firearms to                 Q. Okay. That's fine. Going back to your
18                                                            18
   further their criminal activity, whether it was               résumé, you also note that you toured I think
19                                                            19
   drug-related activity or other types of                       you said 25 firearms manufacturing facilities
20                                                            20
   activities.                                                   and ammunition manufacturing facilities.
21                                                            21
      Q. Okay. You mention in your report being                         What were the purpose of those visits?
22                                                            22
   part of or managing Project Disarm. Can you                      A. At the time in the late 1990s, ATF was
23                                                            23
   tell me what Project Disarm was?                              training a cadre of agents who would qualify as
24                                                            24
      A. Project Disarm was a collaborative                      expert witnesses in court regarding the origin
25                                                            25
   effort between the United States Attorney's                   and interstate transportation or interstate
                                                   Page 11                                                         Page 13
 1 Office for the District of Maryland, the State's            1 commerce of firearms, and I was one of the
 2 Attorney's Office for the City of Baltimore, as             2 agents selected to participate in that training
 3 well as outlying counties' state's attorney's               3 program, and that was a component of that
 4 offices to identify individuals who had been                4 training.
 5 arrested for state or local firearms-related                5   Q. Okay. So you'd go to these factories
 6 crimes, and reviewing those cases and the                   6 or manufacturing facilities and you would be
 7 criminal histories of those individuals to                  7 able to become familiar with different types of
 8 determine whether or not they would be referred             8 firearms that you hadn't seen, that kind of
 9 to federal prosecution due to their criminal                9 thing, to identify them; is that right?
10 history where the federal penalties in certain             10   A. More so initially to identify which
11 instances were more severe, more strict than the           11 firearms were manufactured by which manufacturer
12 state sentence would be for the instant offense.           12 and the point of origin of those firearms.
13   Q. So in your duties with Project Disarm                 13       Later when I worked and ran the
14 or just more general duties in the Baltimore               14 National Firearms Examiner Academy, the students
15 Field Office, did you seize firearms that you              15 in that program were also taken on firearms and
16 thought could be used in crime?                            16 ammunition plant tours, and I usually
17    A. Yes.                                                 17 accompanied them.     So some of those firearms
18    Q. Do you have the general breakout of                  18 manufacturers I had been to five or six times or
19 what types of firearms you seized most commonly?           19 four or five times.
20    A. In terms of what kind of a breakdown?                20    Q. Got it. You were going there where I
21    Q. How about handguns versus rifles versus              21 was about to go.  I wanted to ask about your
22 shotguns?                                                  22 time managing the National Firearm Examiner
23    A. In my opinion I couldn't give you a                  23 Academy.
24 statistical number. I could say that the                   24       So what is the purpose of the National
25 overwhelming majority of them were handguns.               25 Firearms Examiner Academy?


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                                                                               #:8555 (14 - 17)
                                               Page 14                                               Page 16
 1                                                       1
      A. The Firearms Examiner Academy is a                    Q. How many firearms do you own about?
 2                                                        2
   training program wherein state and local                    A. Less than ten.
 3                                                        3
   firearms examiner trainees are afforded their               Q. Okay. Do you own any semiautomatic
 4                                                        4
   first year of training by ATF as opposed to that         rifles?
 5                                                        5
   on-the-job training occurring inhouse. It's a               A. Yes.
 6                                                        6
   collaborative effort.                                       Q. How many semiautomatic rifles do you
 7                                                        7
          It's not all one side on ATF's part,              own?
 8                                                        8
   nor all 100 percent in the hands of the state               A. Two.
 9                                                        9
   and local laboratory -- state or local                      Q. Two. What kind of semiautomatic rifles
10                                                       10
   laboratory.                                              do you own?
11                                                       11
      Q. Okay. So who are the students? Are                    A. One is a Colt 6920 law enforcement
12                                                       12
   they state and legal police?                             carbine, and the other is a Springfield Armory
13                                                       13
      A. Yes. They are state and local firearm              World War II era M1 Garand rifle.
14                                                       14
   examiner trainees.                                          Q. Okay. So the M1 Garand would not
15                                                       15
      Q. Understood. You also mentioned at the              qualify as a banned rifle under the Cook County
16                                                       16
   NFEA that there was forensic firearms-related            Ordinance that we're going to discuss here,
17                                                       17
   research. What kind of research was going on?            correct?
18                                                       18
      A. Each of the students in that program                  A. Correct.
19                                                       19
   were required to complete a research project and            Q. Would the Colt 6920 qualify as a banned
20                                                       20
   present that project, not only to their peers            rifle in Cook County?
21                                                       21
   but also have it peer reviewed by senior firearm            A. Yes.
22                                                       22
   and toolmark examiners from around the country,             Q. What features does it have that would
23                                                       23
   and they were also afforded the opportunity to           make it banned in Cook County?
24                                                       24
   publish those research reports in a                         A. A number of the features that are
25                                                       25
   peer-reviewed journal, the AFTE Journal, which           enumerated in the Ordinance.
                                               Page 15                                               Page 17
 1                                                     1
   is the Association of Firearm and Toolmark               Q. Okay. Does it have a muzzle brake?
 2                                                     2
   Examiners.                                               A. It has a flash hider, not a muzzle
 3                                                     3
      Q. Understood. So while you were at the            brake.
 4
   firearm academy or the academy at the National 4 Q. Does it have an adjustable stock?
 5                                                     5
   Laboratory Center, were you still involved in            A. Yes.
 6
   doing firearms identification for ongoing cases 6 Q. And a pistol grip?
 7                                                     7
   or was it sort of a purely educational role?             A. Yes.
 8                                                     8
      A. I was not involved in investigating                Q. Like a forward grip or a protrusion
 9                                                     9
   criminal cases while I was at the ATF                 that would be held by the non-trigger hand?
10                                                    10
   Laboratory.                                              A. It has a provision to attach one.
11                                                    11
      Q. And while you were at the laboratory,              Q. Okay. It doesn't have a -- I forget
12                                                    12
   was the training that you gave state and local        the word the Ordinance used, we'll pull it up in
13                                                    13
   examiners, was it focused more on handguns,           a second, I'll get clear on that -- but sort of
14                                                    14
   rifles, or shotguns, or did it roughly equally        the barrel shroud feature?
15                                                    15
   cover everything?                                        A. Yes.
16                                                    16
      A. It covers everything firearms related.             Q. What do you use your Colt 6920 for?
17                                                    17
      Q. Okay. So you talk about your                       A. Target shooting.
18                                                    18
   professional experience in firearms here.                Q. Where do you target shoot at?
19                                                    19
          Do you have personal experience with              A. I currently target shoot at a relative
20                                                    20
   firearms?                                             -- on a relative's piece of property.
21                                                    21
      A. Personal experience in regard to my                Q. So is there any particular reason you
22                                                    22
   professional exposure or -- I don't understand        like the 6920 for target shooting?
23                                                    23
   your question.                                           A. I have it because it's outfitted as
24                                                    24
      Q. Do you own firearms yourself?                   legally as I can identically to the AR-15-type
25                                                    25
      A. Yes.                                            rifles that we were issued at ATF.
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James E. Yurgealitis                                                               11/17/2022
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                                                                               #:8566 (18 - 21)
                                              Page 18                                              Page 20
 1                                                   1    A. I believe when I wrote the report, it
       Q. Okay. What kind of -- I guess the --
 2                                                   2 was based on the totality of my experience with
   other than the AR-15-type rifles, what kind of
 3                                                   3 a number of firearms that are AR-15 based and a
   firearms were you issued at ATF? I know you
 4                                                   4 number of firearms that are not based on the
   mentioned a handgun in your report. But you
 5                                                   5 AR-15.
   were also issued a rifle; is that correct?
 6                                                   6    Q. Okay. Understood. So I'd like to
       A. I was not -- there were a number of
 7                                                   7 scroll up to -- if you've got the copy in your
   rifles issued to each group or each field
 8                                                   8 hand, you can just leaf up to pages 10 and 11 of
   office. It was not an individual issue for us.
 9                                                   9 your expert report. It's at the very bottom of
       Q. Okay. And why -- I guess what was the
10                                                  10 page 10. There is a subsection heading that
   thinking behind issuing a certain number of
11                                                  11 says Assault Weapons and then you've got History
   rifles to an office? When would they be used?
12                                                  12 following it.
       A. During enforcement activities, or an
13
   agent may have those with them on a surveillance 13        Do you see that?
14                                                  14    A. Yes.
   or some other type of enforcement activity.
15                                                  15    Q. So you offer a couple definitions here
       Q. What type of enforcement activity
16                                                  16 with the History section for how an assault
   might, you know, indicate that rifles would be
17
   appropriate to use as opposed to, say, handguns? 17 rifle can be used in popular or legal parlance.
18                                                  18        What definition did you use for your
       A. A search warrant, for use as outside
19                                                  19 report when you used the term assault rifle?
   cover on a search warrant.
20                                                  20    A. Just as a header, I mentioned a Merriam
       Q. Okay. Going back to your personal
21
   rifle now, what kind of magazine do you use with 21 Webster Dictionary definition.
22                                                  22    Q. And then you note that -- in the second
   it?
23                                                  23 paragraph you say:
       A. I have a number of magazines for it.
24                                                  24        "Although not a legal classification
       Q. Okay. And what capacity do they have?
25                                                  25     under Federal Law, the term assault rifle
       A. I have a number of 20-round magazines
                                              Page 19                                              Page 21
 1                                                      1
   and a number of 30-round magazines.                     generally refers to a firearm capable of
 2                                                   2
      Q. Why do you use 20 and 30-round                    both fully automatic and semiautomatic
 3                                                   3
   magazines for target shooting?                          fire."
 4                                                   4
      A. The 20-round magazine I normally use                 So is that -- when you use the term
 5                                                   5
   when I'm shooting it from a seated position at a    assault weapon, are you referring to a firearm
 6                                                   6
   bench because there is a bipod that my daughter     that has the capability of doing both fully
 7                                                   7
   likes to use on the front of the rifle when she     automatic and semiautomatic firing?
 8                                                   8
   target shoots, and the 30-round magazine is too         A. Well, you just used the second term in
 9                                                   9
   -- extends too far to actually use the bipod        there. You asked if I'm using that as a
10                                                  10
   when she's target shooting.                         definition for assault weapon.
11                                                  11
      Q. Got it. Does your daughter like target               So if you could clarify or maybe the
12                                                  12
   shooting with the rifle?                            reporter could read that back because I want to
13                                                  13
      A. She enjoys target shooting with all of        make sure we're talking about using the correct
14                                                  14
   the firearms that I own.                            terminology here.
15                                                  15
      Q. What kind of ammunition does your 6920            Q. Sorry. Yes, I did say assault weapon,
16                                                  16
   take?                                               and I guess what I wanted to agree on is the
17                                                  17
      A. Either .223 caliber or 5.56 caliber.          definition for the term assault rifle in this
18                                                  18
      Q. In your experience is the Colt 6920 a         report.
19                                                  19
   reliable firearm?                                       A. Well, assault rifle is a colloquial
20                                                  20
      A. Yes.                                          term. It's not -- it's a term utilized in the
21                                                  21
      Q. How about accuracy? Is it accurate?           firearms community. It's not legally defined,
22                                                  22
      A. Yes.                                          at least under federal law, nor do I believe
23                                                  23
      Q. When you wrote your expert report, was        it's defined under Illinois state law.
24                                                  24
   it at all based on your personal familiarity                       (Exhibit 2 was marked for
25                                                  25
   with these firearms?                                               identification.)
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James E. Yurgealitis                                                               11/17/2022
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                                                                               #:8577 (22 - 25)
                                              Page 22                                              Page 24
 1 BY MR. BERGSTROM:                                    1
                                                       read No. 1, that you stated I believe the
 2    Q. So when I use it -- well, let's switch      2
                                                       semiautomatic rifle that has the capacity to
 3 over now to the Cook County Ordinance. This is    3
                                                       accept a magazine or a detachable magazine
 4 -- I'll mark this as Exhibit 2. It's a copy of    4
                                                       whereas the definition actually says a large
 5 the Blair Holt Assault Weapons Ban. And if you    5
                                                       capacity magazine.
 6 have physical copies, go ahead and look at them.  6
                                                          Q. Yeah. I believe I said the magazine
 7         DOCUMENT TECHNICIAN: What's that          7
                                                       taking an excess of ten rounds because I believe
 8     exhibit again, Mr. Bergstrom?                 8
                                                       that's how large capacity magazine is defined.
 9         MR. BERGSTROM: It's called Cook County    9
                                                          A. I wanted to make sure that there was no
10     Ordinance 13-0-32.                           10
                                                       misunderstanding on it.
11 BY MR. BERGSTROM:                                11
                                                          Q. Yeah. Okay. Thank you for doing that.
12    Q. So you're right. Here they don't           12
                                                              So can we agree that when I use the
13 define the word assault rifle, but if you're     13
                                                       term assault weapon or assault rifle in this
14 looking at it now, do you see Section 54-211?    14
                                                       case, I'm going to be referring to a firearm
15    A. Yeah.                                      15
                                                       that meets these sort of delineated features or
16    Q. And underneath that there is a             16
                                                       that meets this test?
17 definition of assault weapon that goes on for    17
                                                          A. I would disagree with you. It's not an
18 quite awhile, correct, a couple pages?           18
                                                       assault rifle. You just again used both terms
19    A. There is a definition, yes.                19
                                                       interchangeably and they are two distinct and
20    Q. So I want to focus today on the            20
                                                       separate types of firearms.
21 definition of assault weapon as it pertains to   21
                                                          Q. Okay. This is helpful. So when I use
22 rifles. So can you -- and that's going to be     22
                                                       assault weapon and the semiautomatic rifle that
23 Section 1 here.                                  23
                                                       qualifies as an assault weapon, I'll refer to
24         Can you tell me what makes an            24
                                                       this category of firearms. Is that okay?
25 assault -- or a semiautomatic rifle an assault   25
                                                          A. Yes, because an assault rifle is a
                                              Page 23                                              Page 25
 1                                                      1
   weapon in Cook County?                              different animal.
 2                                                   2
      A. Well, it's in there. It's delineated             Q. Right. And an assault rifle is what
 3                                                   3
   in the definition under 52 -- 54-211. It's a        exactly?
 4                                                   4
   combination of features present on a                   A. An assault rifle is essentially a
 5                                                   5
   semiautomatic rifle that makes it an assault        machine gun. It has to be capable of select
 6                                                   6
   weapon under the Ordinance.                         fire, that being semiautomatic and fully
 7                                                   7
      Q. Right. And that combination of                automatic fire, or also perhaps a three-round
 8                                                   8
   features, correct, would be it's a semiautomatic    burst because there are certain models of the
 9                                                   9
   rifle that has the capacity to accept a magazine    M16 that have a three-round burst either as
10                                                  10
   taking more than ten rounds of ammunition, plus     opposed to full automatic fire or in addition to
11                                                  11
   any one of several features, correct?               full automatic fire.
12                                                  12
      A. Yes. Well, a number -- yes. I'm                  Q. Okay. And we can use the terms that
13                                                  13
   sorry.                                              way. I guess the other thing I would point out
14                                                  14
      Q. Yeah. And those several features could        is that there is a -- when you go to the next
15                                                  15
   be a pistol grip without a stock attached, a        page, subsection 7 has a list of firearms that
16                                                  16
   feature capable of functioning as a protruding      also meet the definition of assault weapon.
17                                                  17
   grip that can be held in the non-trigger hand, a           So some of those, like the AR-15 for
18                                                  18
   folding, telescoping, or thumbhole stock, or a      example in No. 3, those would also qualify as
19                                                  19
   shroud attached to the barrel or that partially     semiautomatic rifles that qualify as assault
20                                                  20
   or completely encircles the barrel allowing the     weapons, correct?
21                                                  21
   bearer to hold the firearm with the non-trigger        A. Yes.
22                                                  22
   hand without being burned, but excluding a slide       Q. Okay. So I'd like you to go down
23                                                  23
   that encloses the barrel, or a muzzle brake or a    further. If I could turn back to your report,
24                                                  24
   muzzle compensator, correct?                        to Exhibit 1, we can kind of be flipping between
25                                                  25
      A. Yes. I would like to note when you            those two. But on page 21 and 22 of your
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James E. Yurgealitis                                                              11/17/2022
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                                                                                   8 (26 - 29)
                                               Page 26                                               Page 28
 1                                                   1
   report, if you would let me know when you're           Q. Have you ever seen a military rifle
 2                                                   2
   there.                                              with that configuration?
 3                                                   3
      A. I am there.                                      A. I have seen military rifles, for
 4
      Q. Okay. So the bottom paragraph on page 4 instance, M1 carbines which may have had World
 5                                                   5
   21 of your report, you'll see it says:              War II vintage, M1 carbines that may have had a
 6
          "Numerous Assault Weapons as defined in 6 folding or what's commonly referred to as a
 7
      the Ordinance available for purchase by the 7 paratrooper stock and a pistol grip. I have
 8                                                   8
      public are, save the lack of select fire         seen them without the shoulder stock attached,
 9                                                   9
      capability, identical copies of military         yes.
10                                                  10
      firearms."                                          Q. All right. Do you know what the
11                                                  11
          You say at the bottom of this                military function of having that config -- like
12                                                  12
   paragraph:                                          why would that be beneficial in a military
13                                                  13
          "There are countless accessories             situation to have a pistol grip and no stock
14                                                  14
      available to add to firearms traditionally       attached on a rifle?
15                                                  15
      considered sporting firearms (i.e., those           A. I would say initially for ease of
16                                                  16
      initially designed and manufactured for          deployment or use in confined spaces or storage
17                                                  17
      target shooting and hunting) which brings        in a military vehicle such as a tank where space
18                                                  18
      the functionality more towards the military      is at a premium and a shoulder stock is not
19
      spectrum and away from the sporting side." 19 necessarily a vital component in terms of being
20                                                  20
          Do you see that?                             able to defend yourself.
21                                                  21
      A. Yes.                                             Q. Okay. Let's look at the second feature
22                                                  22
      Q. So I guess my first question is going         listed here on this list. It says:
23
   to be, can you explain the sporting and military 23        "Any feature capable of functioning as
24                                                  24
   spectrum for me? What features make a firearm           a protruding grip that can be held by the
25
   more sporting and what features make it more 25         non-trigger hand."
                                               Page 27                                               Page 29
 1                                                     1
   military in nature?                                          I'm going to call that the forward grip
 2                                                     2
      A. Well, I think the features listed in            from now on if that's okay with you.
 3                                                     3
   the Ordinance are features that bring a firearm          A. A forward grip would be a type of
 4                                                     4
   or shift a firearm's design and intent from a         feature as defined under the (B).
 5
   sporting purpose towards the military purpose. 5 Q. Okay. So would having a forward grip
 6                                                     6
      Q. Okay. Well, okay. Let's go through              in your mind make a feature -- make a firearm
 7                                                     7
   the features in the Ordinance. The first              more of a military style firearm than a sporting
 8                                                     8
   feature in the Ordinance subsection (1)(A) is         style firearm?
 9                                                     9
   only a pistol grip without a stock attached.             A. Yes.
10                                                    10
          Have you ever seen a military firearm             Q. Are those features common on sporting
11                                                    11
   with only a pistol grip but no stock attached?        rifles?
12                                                    12
      A. Which -- I'm sorry. Which page on                  A. Not that I'm aware of, although I can't
13                                                    13
   which document?                                       say that that's an absolute.
14                                                    14
      Q. This is going back to the Ordinance.               Q. Okay. How about folding, telescoping,
15                                                    15
   Page 1 under Section 54-211 the definition of         or thumbhole stock, the next feature listed, is
16                                                    16
   assault weapon. The first feature a                   that a common feature of sporting rifles that
17
   semiautomatic rifle could have that would make 17 you're aware of?
18                                                    18
   it an assault weapon is only a pistol grip               A. No.
19                                                    19
   without a stock attached.                                Q. How about the next feature:
20                                                    20
      A. Okay. Have I ever seen a military fire                 "A shroud attached to the barrel, or
21                                                    21
   -- your question is have I ever seen a military           that partially or completely encircles the
22                                                    22
   firearm with only a pistol grip and no stock              barrel, allowing the bearer to hold the
23                                                    23
   attacked?                                                 firearm with the non-trigger hand without
24                                                    24
      Q. Yeah.                                               being burned, but excluding a slide that
25                                                    25
      A. Yes.                                                encloses the barrel."
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James E. Yurgealitis                                                              11/17/2022
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                                                                                   9 (30 - 33)
                                             Page 30                                                Page 32
 1        So can we agree that I can refer to          1
                                                                 THE WITNESS: I didn't complete the
 2 this as a barrel shroud and we'll know that I'm      2
                                                              answer. I started to answer and then
 3 referring to this feature?                           3
                                                              counsel continued, so --
 4    A. Yes.                                           4
                                                          BY MR. BERGSTROM:
 5    Q. Okay. How about barrel shrouds, are            5
                                                             Q. I was just asking for an example.
 6 those common features of sporting firearms in        6
                                                                 MR. ADELMAN: Can we read back the
 7 your experience?                                     7
                                                              question.
 8    A. They are more common on military               8
                                                                        (Record read.)
 9 firearms in my experience than they are in what      9
                                                          BY THE WITNESS:
10 are traditionally considered sporting rifles.       10
                                                             A. 30 ought 6 is a military caliber that
11    Q. Okay. What do you mean by more common         11
                                                          is used in hunting.
12 in that scenario? Like in terms of types of         12
                                                          BY MR. BERGSTROM:
13 firearms that the military uses the feature?        13
                                                             Q. So what makes the 30 ought 6 a military
14 How are they more common I guess?                   14
                                                          caliber then?
15    A. They are not a common feature in my           15
                                                             A. It was initially invented or created as
16 experience on sporting rifles. For example,         16
                                                          ammunition for Springfield bolt-action rifles
17 traditional bolt-action hunting rifles are not      17
                                                          that the United States military utilized in the
18 normally -- you do not normally see them            18
                                                          early 1900s.
19 equipped with a barrel shroud or a covering over    19
                                                             Q. Okay. I'm sorry, I didn't mean to cut
20 the top of the barrel.                              20
                                                          you off.
21    Q. Okay. How about on sporting                   21
                                                             A. Hence the designation .30 which is the
22 semiautomatic rifles, are they more common          22
                                                          caliber of the bullet and -06 which is the year
23 there?                                              23
                                                          that it was not necessarily invented but the
24    A. Well, can you give me an example?             24
                                                          year that it was adopted by the U.S. military as
25    Q. Not off the top of my head, no. I'll          25
                                                          a general issue caliber cartridge.
                                             Page 31                                                Page 33
 1 try another question.                               1
                                                          Q. Okay. So when we're talking about
 2        How about muzzle brakes and muzzle         2
                                                       these features and whether they qualify for us
 3 compen -- or compensators, are those common       3
                                                       as military or as sporting, is it the same as
 4 features on sporting rifles or not?               4
                                                       with the calibers, it matters what they were
 5    A. They are not common features as they        5
                                                       invented for originally, not so much what
 6 are -- as manufactured in my experience.          6
                                                       they're being used for today?
 7    Q. Right. Are they frequently -- are           7
                                                          A. Can you please repeat the question
 8 rifles frequently manufactured so that these      8
                                                       because I'm not --
 9 features can be added?                            9
                                                          Q. Sure, sure. So you were saying that
10    A. I don't know that that's a function of     10
                                                       the 30 ought 6 is a military caliber because it
11 the manufacturer. It's more a function of        11
                                                       was intended for use by the military. So we're
12 aftermarket parts availability or perhaps the    12
                                                       talking about these other features.
13 creativity and talents of somebody who modifies  13
                                                              Does the fact that you consider them to
14 firearms for a particular owner.                 14
                                                       be military features flow from the fact that
15    Q. Understood. How about caliber              15
                                                       they were invented for use in the military?
16 ammunition, does that impact where a firearm     16
                                                          A. Well, are we talking about all the
17 would fall on the sporting or military spectrum? 17
                                                       features as either delineated in my report or
18    A. There are military calibers that are       18
                                                       the features in the definitions section of
19 used for hunting and there are hunting calibers  19
                                                       the --
20 that are used in military firearms, so there is  20
                                                          Q. The features in the definitions
21 some interchangeability.                         21
                                                       section, so subsections (A) through (E) of the
22    Q. What would be a military caliber that's    22
                                                       assault weapon definition pertaining to
23 used in hunting?                                 23
                                                       semiautomatic rifles.
24        THE STENOGRAPHER: I'm sorry. Can you      24
                                                          A. Whether or not a firearm was initially
25     repeat your answer?                          25
                                                       manufactured in a certain caliber does not
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James E. Yurgealitis                                                              11/17/2022
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                                                                             Page 10 (34 - 37)
                                            Page 34                                                 Page 36
 1                                                    1
   necessarily mean that it can't be modified to         rifle.
 2                                                     2
   fire or adapted to fire another caliber that             Q. Right. And so this is the Springfield
 3                                                     3
   does not have origins in a military -- in a           Armory M1A standard issue variant. They have
 4                                                     4
   military sense. So the caliber designation for        many different variants of the M1A.
 5                                                     5
   the origin of a particular caliber is -- it                  Would you consider this rifle to be
 6                                                     6
   doesn't make it military. It doesn't make it          more sporting or more military in nature?
 7                                                     7
   sporting. It's simply there is an                        A. This actual model of the M1A, which one
 8                                                     8
   interchangeability there, and the ability to          are you referring to because there is a -- there
 9                                                     9
   modify firearms to fire calibers other than           is -- if you look on page 3, there is a plethora
10                                                    10
   their original -- what they were originally           of models based around that rifle action that
11                                                    11
   manufactured to accommodate.                          are manufactured by Springfield Armory. So
12                                                    12
      Q. Got it. How about magazine size or              which one precisely are we talking now?
13                                                    13
   magazine capacity, does that impact whether a            Q. The one that appears on the first page.
14                                                    14
   firearm is more military or sporting in your             A. If you'll just give me a moment, I'm
15                                                    15
   view?                                                 just reading --
16                                                    16
      A. I would say that it's a -- there is a              Q. Absolutely.
17                                                    17
   difference between the origin of a particular            A. Okay. Thank you. Again, your question
18                                                    18
   firearm in regard to its magazine capacity.           about this particular model is?
19                                                    19
   Most traditional hunting rifles or sporting              Q. Yes. My question is, this particular
20                                                    20
   rifles in my experience do not have the ability       model of the M1A, would it qualify more as a
21                                                    21
   to accept nor do they use detachable magazines        sporting rifle or a military rifle in your
22                                                    22
   with varying capacities, whether they be a            judgment?
23                                                    23
   10-round magazine, a 20-round magazine, or a             A. In my judgment it's almost an exact
24                                                    24
   100-round drum magazine.                              copy -- I mean, I can't -- I don't have an
25                                                    25
      Q. Understood. I'd like to move on to              exploded diagram of the internal parts, but it
                                            Page 35                                                 Page 37
 1 another exhibit I think.                           1
                                                    seems to be advertised as an almost direct copy
 2       MR. BERGSTROM: And, Randy, this one is 2 of an M14 rifle which was the standard issue
 3    one of the www.springfieldarmory.com ones.  3
                                                    military rifle from 1960 until it was completely
 4    This is the -- it ends with Standard Issue  4
                                                    replaced by the AR-15 platform/M16 platform.
 5    Rifle in the bottom. Yes. That's right.     5
                                                       Q. Understood. I'm just trying to find
 6    So I would like to mark this document as    6
                                                    out if -- you know, acknowledging that it has
 7    Exhibit 3.                                  7
                                                    that military background, in the spectrum that
 8               (Exhibit 3 was marked for        8
                                                    you lay out, does this qualify as a more
 9               identification.)                 9
                                                    military style or a sporting style?
10 BY MR. BERGSTROM:                             10
                                                       A. It's a direct copy of a military issue
11   Q. Do you have a copy of this in front of   11
                                                    firearm utilized by the U.S. armed forces for a
12 you, Mr. Yurgealitis?                         12
                                                    long period of time, so I would say that likely
13       MR. ADELMAN: How many pages are in      13
                                                    falls on the military side of that dividing
14    this document.                             14
                                                    line.
15       MR. BERGSTROM: It's five pages long.    15
                                                       Q. Okay. And another example is the M1
16       MR. ADELMAN: Okay. I have the hard      16
                                                    Garand you own, would that qualify, again based
17    copy that I can put in front of witness.   17
                                                    on its sort of history, as more military than a
18       MR. BERGSTROM: Yeah. And it should be 18 sporting rifle in your mind?
19    on your screen too.                        19
                                                       A. Well, it was designed and manufactured
20 BY MR. BERGSTROM:                             20
                                                    as a military rifle and I don't think that
21   Q. So have you seen this firearm before,    21
                                                    simply because I don't serve in the military and
22 Mr. Yurgealitis?                              22
                                                    carry it makes it less of a military firearm.
23   A. Yes.                                     23
                                                       Q. Understood. This Springfield Armory
24   Q. Can you tell me what it is?              24
                                                    M1A we're looking at again, the first page of
25   A. It's a semiautomatic gas operated        25
                                                    this document, would it qualify as an assault
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James E. Yurgealitis                                                              11/17/2022
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                                              Page 38                                            Page 40
 1 weapon under the Blair Holt Assault Weapon Ban       1
                                                       seems to be a military firearm to you or does it
 2 in Cook County in your estimation?                2
                                                       have no effect?
 3    A. No.                                         3
                                                           A. The technical analysis of it is that
 4    Q. So despite not having the features that     4
                                                       it's based on a military firearm --
 5 have been made unlawful in Cook County, it would  5
                                                           Q. Okay.
 6 nevertheless be a military firearm?               6
                                                           A. -- so I don't have an answer.
 7    A. I would say it is a replica or a copy       7
                                                           Q. I'm sorry. I didn't mean to cut you
 8 of a military firearm.                            8
                                                       off.
 9    Q. Okay. I'd like to look at the other         9
                                                           A. So I don't have an answer to that
10 Springfield Armory exhibit. I think this is      10
                                                       because it's really some subjective
11 Exhibit 4 now.                                   11
                                                       unquantifiable quantity that you're asking about
12               (Exhibit 4 was marked for          12
                                                       and I can't quite give you an answer for that,
13               identification.)                   13
                                                       so...
14 BY MR. BERGSTROM:                                14
                                                           Q. Okay. Would this firearm be banned
15    Q. Do you have a copy of that? This one       15
                                                       under the Cook County Ordinance that we're
16 is six pages long.                               16
                                                       talking about today?
17    A. Yes, I have it.                            17
                                                           A. Could you give me a moment to look
18    Q. Okay. So this is another Springfield       18
                                                       through the features on it?
19 Armory M1A variant, the so-called 16 CQB rifle.  19
                                                           Q. Sure.
20        Does this fall in the exact same place    20
                                                           A. In my opinion it has the features that
21 on the spectrum as the other M1A remake or does  21
                                                       would disqualify it from ownership in Cook
22 this appear to be more military, less military?  22
                                                       County.
23 How does this fall in the spectrum in your       23
                                                           Q. Okay. Now would be a good time to
24 estimation?                                      24
                                                       actually go back to the Cook County Ordinance
25    A. It has different features than the         25
                                                       and talk through some of these features again,
                                              Page 39                                            Page 41
 1                                                   1
   M1A's standard issue rifle that are not -- well,    so if we can switch back to what I believe was
 2                                                   2
   it has features that fall under the Ordinance I     our Exhibit 2.
 3                                                   3
   should say.                                             A. Yes.
 4                                                   4
      Q. Right. So would this be -- and you can            Q. I'm going to work through these
 5                                                   5
   compare it. If we're talking about the spectrum     features. This is under Section 54-211(1) and
 6
   here between more or less military, where would 6 then (A) through (E) here, but the first
 7                                                   7
   this fall compared to the other Springfield         feature, pistol grip without a stock attached,
 8                                                   8
   Armory rifle we just looked at?                     in your experience what effect did that have on
 9                                                   9
      A. When you say -- I guess you're using          a firearm's lethality?
10                                                  10
   the term spectrum regularly here as if it's some        A. You said lethality. What do you mean
11                                                  11
   quantifiable measurement with a point score, and    by -- what is -- I mean, what does the term
12                                                  12
   this -- the M1A SOCOM 16 CQB rifle has an           lethality -- what is the definition that we're
13                                                  13
   action, mechanical action that is based on a        working with in terms of what lethality means?
14                                                  14
   military firearm or is a replica of the action          Q. Again, how would you use that term if
15                                                  15
   used in an issued military firearm.                 you're talking about a firearm's lethality,
16                                                  16
          So it derives its lineage from a             likelihood of causing death?
17                                                  17
   military firearm, although there has been no            A. I mean, I asked you first and then I'd
18                                                  18
   military that I'm aware of that issues or has       be happy to --
19                                                  19
   issued an M1A rifle with that particular                Q. Am I correct that it would mean that
20                                                  20
   configuration.                                      it's -- that a more lethal firearm is more
21                                                  21
          So I would say that its heart is a           likely to result in death when it's been fired
22                                                  22
   military firearm and it's simply different in       than a less lethal firearm?
23                                                  23
   appearance than the original military firearm.          A. Any firearm can be lethal.
24                                                  24
      Q. And does the difference in appearance             Q. Sure. But I think it's -- I mean, how
25
   change how much -- change the degree to which it 25 about we use the definition that it's a firearm
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James E. Yurgealitis                                                              11/17/2022
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                                                                             Page 12 (42 - 45)
                                               Page 42                                                Page 44
 1                                                   1
   -- a more lethal firearm is more likely to cause       A. At what range?
 2                                                   2
   death in someone who has been shot by it than          Q. Say 100 feet.
 3                                                   3
   someone -- than a less lethal firearm would be         A. I really couldn't tell you whether or
 4                                                   4
   to a comparable person shot by a less lethal        not it would because I don't know what caliber
 5                                                   5
   firearm?                                            firearm we're talking about. We can go back and
 6
         MR. ADELMAN: Object to the form of the 6 forth with hypotheticals with terms that have no
 7                                                   7
       question.                                       quantifiable measurement all day long, but
 8                                                   8
   BY MR. BERGSTROM:                                   you're probably not going to get a succinct
 9                                                   9
      Q. Do you want me to restate that or do          answer out of me if you continue to use nebulous
10                                                  10
   you understand what I'm trying to get at here?      terms or, you know, broad sweeping
11                                                  11
      A. No. I'm not really sure what you're           generalizations such as lethality and range.
12                                                  12
   trying to get at, so if you could restate it.              If you want to get specific and
13                                                  13
      Q. So a more lethal firearm is more likely       actually nail down some of these different
14
   to cause death in someone who has been shot than 14 parameters, then I can give you an answer, but
15                                                  15
   a less lethal firearm is likely to cause death      some of these answers -- some of the questions,
16                                                  16
   in someone who has been shot by that less lethal    you're throwing out terminology to me that needs
17                                                  17
   firearm.                                            to be narrowed down in order for me to give you
18                                                  18
         MR. ADELMAN: Objection; form of the           a succinct answer.
19                                                  19
       question.                                          Q. Sure. So I mean in terms of -- is
20                                                  20
   BY MR. BERGSTROM:                                   accuracy a term that needs to be narrowed down
21                                                  21
      Q. Does that make sense as a definition          or do you understand what I mean when I say
22                                                  22
   for lethality?                                      accuracy of a firearm?
23                                                  23
      A. Well, there is still a lot of variables          A. I understand what accuracy means. My
24                                                  24
   here that you're not addressing. I can shoot        question is what does that mean to you?
25                                                  25
   somebody in the foot with a smaller caliber --         Q. I think it means the ability of a
                                               Page 43                                                Page 45
 1                                                      1
   or a larger caliber firearm and then shoot them        firearm to hit the thing it's pointed at and how
 2
   in the temple with a smaller caliber firearm and 2 close it comes to the thing it's pointed at in
 3                                                      3
   it would turn out that the smaller caliber             terms of delivering bullets.
 4                                                      4
   firearm is more likely to be more,                            Is that what it means to you or how
 5                                                      5
   quote-unquote, lethal than the larger caliber          would you define it?
 6                                                      6
   firearm would be.                                          A. I would agree.
 7                                                      7
          Does that make sense?                               Q. So I guess my question is just let's
 8                                                      8
      Q. Sure. So let's assume that all else              hold all other things equal. Let's assume it's
 9                                                      9
   being equal, a shot is made in the same place,         a rifle that shoots -- you assume 5.56
10                                                     10
   the firearms use the same caliber. The only            ammunition in your report a lot. We can use
11                                                     11
   difference between them is one has a pistol grip       that here. It's a rifle that shoots 5.56
12                                                     12
   without a stock attached and one does not have         ammunition. It's being shot at a range of 100
13
   that configuration. One has a more traditional 13 feet.
14                                                     14
   firearm -- or more traditional stock                          Would the presence of this feature,
15                                                     15
   configuration.                                         only a pistol grip without a stock attached,
16                                                     16
          Is the pistol grip without a stock              versus a traditional stock, would that have an
17                                                     17
   attached likely to be more lethal, assuming            impact on the accuracy of that firearm?
18                                                     18
   everything else is constant?                               A. It may, it may not.
19                                                     19
      A. Whether or not it has a pistol grip or               Q. So what feature -- what might
20                                                     20
   a shoulder shot would not have any bearing on          contribute to it having an effect versus not
21                                                     21
   what the caliber of the firearm is or the              having an effect?
22                                                     22
   performance of the ammunition used.                        A. Depending on the circumstances of how
23                                                     23
      Q. How about accuracy? Would having a               it's being held; whether you're sitting at a
24                                                     24
   pistol grip without a stock attached affect the        bench firing it as opposed to standing, whether
25                                                     25
   accuracy of a firearm?                                 it's being shot while someone -- whether it's
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James E. Yurgealitis                                                              11/17/2022
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                                                                             Page 13 (46 - 49)
                                              Page 46                                               Page 48
 1                                                      1
   being fired while somebody is moving or they're         or folding stock, so certainly if the United
 2                                                       2
   stationary. It can have an effect on accuracy           States military determines that's advantageous
 3                                                       3
   and it may not have any effect on accuracy.             for a soldier in battle, it wouldn't be there if
 4                                                       4
         It all depends on the unstated                    it weren't so.
 5                                                       5
   conditions in the hypothetical that we're                  Q. Okay. So if we can switch over to your
 6                                                       6
   working with here.                                      report, actually on page 23 of your report --
 7                                                       7
      Q. Okay. How about suitability for use in                   THE WITNESS: If we could just take a
 8                                                       8
   criminal activity? Would that be impacted by                five-minute break, I would very much
 9                                                       9
   whether or not a firearm has this feature?                  appreciate it.
10                                                      10
   Would a firearm become more suitable for use in                MR. BERGSTROM: Perfect. Now is a
11                                                      11
   crime if it had a pistol grip without a stock               great time for a break. It's 10:41 now.
12                                                      12
   attached than, for instance, a more traditional             We can be back here at 10:46 or so.
13                                                      13
   setup? Sorry.                                                  THE WITNESS: Sounds good.
14                                                      14
      A. Any firearm is potentially suitable for                          (Recess had from 10:41 to
15                                                      15
   use in a crime. If somebody is willing to                              10:48 a.m.)
16                                                      16
   commit a crime with a firearm, they're going to         BY MR. BERGSTROM:
17                                                      17
   commit the crime with what they are able to                Q. Mr. Yurgealitis, we were talking about
18                                                      18
   obtain.                                                 I believe the muzzle brake or muzzle
19                                                      19
      Q. I'm sorry. Go ahead.                              compensator; is that right? The folding,
20                                                      20
      A. I'm sorry. Sorry. I just have a very              telescoping, or thumbhole stock. Excuse me.
21                                                      21
   dry throat for a moment.                                I'm sorry.
22                                                      22
         Most -- it has been my experience that               A. Yes. We were talking about stocks.
23                                                      23
   many criminals do not obtain firearms through              Q. Yes. So if you can go to page 23 of
24                                                      24
   normal commercial channels or obtain them in a          your expert report, you discuss this feature at
25                                                      25
   legal sense. So suitability for a crime will            the top of page 23. And like you testified a
                                              Page 47                                               Page 49
 1                                                      1
   often depend on availability as opposed to any      minute ago I believe, if the U.S. military uses
 2                                                   2
   particular feature or whether or not a feature      these, they must have some reason for it. In
 3                                                   3
   is present.                                         your report you suggest that a folding or
 4                                                   4
       Q. Understood. That makes sense to me. I        telescoping stock can allow the operator to more
 5                                                   5
   still want to ask you a couple -- I know we're      easily maneuver the rifle in a confined space.
 6                                                   6
   having a hard time agreeing on hypotheticals. I        A. Yes.
 7                                                   7
   do want to ask a couple more about each of these       Q. Would that feature apply equally
 8                                                   8
   if that's okay with you.                            strongly to a person using a rifle for
 9                                                   9
          The protruding grip that can be held by      self-defense?
10                                                  10
   the non-trigger hand, does that have an impact            MR. ADELMAN: Objection; form.
11                                                  11
   on a firearm's accuracy? Could that improve         BY MR. BERGSTROM:
12                                                  12
   accuracy?                                              Q. I guess I should say, would that
13                                                  13
       A. It can.                                      benefit of the feature or would that aspect of
14                                                  14
       Q. How about a folding, telescoping, or         the feature benefit a person engaged in
15                                                  15
   thumbhole stock, can that also be used to           self-defense in the same way that it would, say,
16                                                  16
   improve accuracy?                                   benefit somebody in the military?
17                                                  17
       A. Depending on the circumstances and how             MR. ADELMAN: Objection; form,
18                                                  18
   it's being held.                                        foundation.
19                                                  19
       Q. Is there a circumstance when you would       BY THE WITNESS:
20                                                  20
   prefer a folding stock to a traditional stock?         A. I'm certain that soldiers or military
21                                                  21
       A. Me personally or in a general sense?         personnel carrying a rifle equipped with a
22                                                  22
       Q. In a general sense, not you personally.      folding or telescoping stock have used it in
23                                                  23
       A. Well, obviously there are reasons for        self-defense before, yes.
24                                                  24
   that because the military issues the M4 carbine     BY MR. BERGSTROM:
25                                                  25
   which is an AR-15 based rifle with a collapsible       Q. Would a rifle with a folding,
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James E. Yurgealitis                                                              11/17/2022
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                                                                             Page 14 (50 - 53)
                                             Page 50                                             Page 52
 1
   telescoping, or thumbhole stock be concealable? 1 shoulder. You just said that that could include
 2                                                   2
      A. A thumbhole stock is not easily               firing from the hip.
 3                                                   3
   concealed as it's usually a fixed stock and not            When would that be advisable, to fire a
 4                                                   4
   foldable or telescoping in any fashion. So I        rifle from the hip?
 5                                                   5
   would remove that in terms of concealability            A. When would it be advisable?
 6                                                   6
   from those three options.                               Q. Yeah.
 7                                                   7
      Q. Would a folding or telescoping stock be           A. Perhaps if you were exiting a military
 8                                                   8
   -- a rifle equipped with a folding or               vehicle on a battlefield and did not have -- you
 9                                                   9
   telescoping stock be concealable?                   were under attack and did not have time to raise
10                                                  10
          MR. ADELMAN: Objection; asked and            it to your shoulder, extend the stock and take
11                                                  11
       answered.                                       aim in order to defend yourself against, you
12                                                  12
          MR. BERGSTROM: I don't think he did          know, an enemy attack, I would say that that's a
13                                                  13
       answer. I think he answered a thumbhole         distinct possibility.
14                                                  14
       stock would not be. So I'm asking                   Q. You also mentioned in the same
15                                                  15
       specifically folding or telescoping stock.      paragraph that thumbhole stocks are
16                                                  16
   BY THE WITNESS:                                     traditionally used -- have traditionally been
17                                                  17
      A. Concealable in what sense? I mean, in         used on firearms for sport and target shooting.
18                                                  18
   a box, under a coat? In what -- you can conceal            What purpose does a thumbhole stock
19                                                  19
   an elephant if you have a big enough box.           serve for sport shooting or target shooting?
20                                                  20
   BY MR. BERGSTROM:                                       A. Well, when I think of firearms with
21
      Q. Right. Would it be concealable under a 21 thumbhole stocks traditionally, I think of, for
22                                                  22
   coat?                                               instance, target rifles that are used -- smaller
23                                                  23
      A. I'm certain that you could conceal a          caliber target rifles used by competitive
24                                                  24
   rifle under a coat if you did it correctly,         shooters, or if you've ever seen footage of a
25
   whether it had a folding or telescoping stock or 25 biathlon at the Olympics, you see -- well, you
                                             Page 51                                             Page 53
 1                                                   1
   not.                                                will see thumbhole stocks on the rifles that
 2                                                   2
       Q. Okay. You also mentioned that these          they carry or shoot with. You know, after
 3                                                   3
   features -- the folding, telescoping, or            they've completed a certain amount of
 4                                                   4
   thumbhole stock -- facilitate easier or more        cross-country skiing, they stop, fire, and you
 5                                                   5
   comfortable firing from positions other than the    will often see thumbhole stocks on those rifles.
 6                                                   6
   shoulder.                                              Q. Do you have a sense of why the
 7                                                   7
          So what positions might those be?            thumbhole stocks are present on those rifles or
 8                                                   8
       A. Well, for example, firing it from the        why they use rifles with thumbhole stocks?
 9                                                   9
   hip may be easier if you don't have a long             A. Why biathletes use rifles with
10                                                  10
   stock. If you have a stock that's collapsed and     thumbhole stocks?
11                                                  11
   you brace that firearm against your hip, it's          Q. Sure, or other target shooters.
12                                                  12
   more easily controlled while you're firing that        A. Well, I would say biathletes because
13                                                  13
   particular firearm.                                 they need to -- you know, they've just engaged
14                                                  14
       Q. Okay.                                        in a considerable amount of physical exertion
15                                                  15
       A. That is one of any number of firing          and, you know, their heart rate is up and
16                                                  16
   positions, but that's an example of one.            they're trying to steady the rifle to get a
17
       Q. Under what circumstances would you want 17 better shot. So apparently manufacturers or
18                                                  18
   to fire a rifle from the hip?                       trainers believe that that aids in their
19                                                  19
          MR. ADELMAN: Objection; form,                accuracy.
20                                                  20
       foundation.                                        Q. Would a folding or a telescoping stock
21                                                  21
   BY MR. BERGSTROM:                                   help a smaller or a weaker person be able to use
22                                                  22
       Q. I guess I should say under what              a rifle effectively?
23                                                  23
   circumstances -- in your report you suggest that       A. I really don't know. Again, there is
24                                                  24
   it facilitates easier, more comfortable firing      terms you're using in your hypotheticals that
25                                                  25
   positions from positions other than the             aren't quantified by anything. Smaller or
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James E. Yurgealitis                                                              11/17/2022
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                                                Page 54                                                  Page 56
 1
   weaker, I can't give you an answer when you draw 1 there one assailant? Is the assailant 25 feet
 2                                                   2
   on terms like that because you might be thinking    away from you? Is the assailant running?
 3                                                   3
   one thing or hoping to hear something or hoping           Again, you're giving me -- I'm not
 4                                                   4
   to hear that I think something and I'm hearing      trying to be difficult. I'm trying to
 5                                                   5
   something different. So we're kind of at cross      understand what the hypothetical consists of,
 6                                                   6
   purposes on hypotheticals here today I think.       but you're not really giving me a lot to work
 7                                                   7
      Q. Sure. Would a folding or a telescoping        with, so I'm not quite sure how to answer.
 8                                                   8
   stock help a 100 pound 5'3" female use a rifle            I want to answer truthfully and fully.
 9                                                   9
   more effectively than, say, a traditional stock     However, I can't if I'm not given enough
10                                                  10
   or would it have no effect?                         information to make that decision on.
11                                                  11
      A. I couldn't tell you.                             Q. Sure. I appreciate that. I guess in
12                                                  12
      Q. Scroll down to the muzzle brake or            this case does it make a difference, would a
13
   muzzle compensator which is on this same page, 13 muzzle brake effect on muzzle flip -- strike
14                                                  14
   23, and then it goes on to page 24.                 that.
15                                                  15
          You explain in your expert report that             Would a muzzle brake be helpful in some
16                                                  16
   the purpose of a muzzle brake or compensator is     situations but not helpful in others depending
17                                                  17
   to reduce muzzle flip, and at the end of this       on how many assailants there are or whether
18                                                  18
   paragraph you say:                                  you're in a home or on the street engaged in
19                                                  19
          "The net advantage of less time              self-defense in your view?
20                                                  20
       required to recover control of the rifle              Do those factors matter for whether or
21                                                  21
       after firing is that it allows the operator     not having less time required to recover control
22                                                  22
       to more rapidly reacquire targets, fire         of the rifle after firing it is useful?
23                                                  23
       accurate additional shots if required."               MR. ADELMAN: Objection; form of the
24                                                  24
          Do you see that?                                 question.
25                                                  25
      A. Yes.                                          BY THE WITNESS:
                                                Page 55                                                  Page 57
 1                                                        1
      Q. Is that a useful feature in nonmilitary               A. Obviously it is a useful feature.
 2                                                        2
   applications as well?                                    Otherwise it would not be present on a military
 3                                                        3
      A. Well, when so equipped it's a useful               firearm.
 4                                                        4
   feature in military applications for purposes of                The military -- obviously the U.S.
 5                                                        5
   -- I'm unsure as to what nonmilitary purposes            Government or the military establishment in the
 6                                                        6
   you're referring to.                                     United States doesn't really care about how it
 7                                                        7
      Q. A nonmilitary person using it in                   looks. They care about how it functions. And
 8                                                        8
   self-defense. Would that help them?                      if it doesn't have a function, it's not likely
 9                                                        9
      A. Well, initially you said a nonmilitary             to be there.
10                                                       10
   purpose I believe, not a nonmilitary person.                    So yes, it is a helpful -- it has been
11                                                       11
      Q. Yeah.                                              determined at some point if it was installed on
12                                                       12
      A. So if you could -- if you could clarify            certain firearms that it is a helpful feature on
13                                                       13
   the question a little bit, just ask it again for         a military firearm -- a beneficial feature I
14                                                       14
   me please.                                               should say. Not necessarily helpful but it is
15                                                       15
      Q. Yes. I was trying to clarify. So                   beneficial.
16                                                       16
   let's say you're a private individual engaged in         BY MR. BERGSTROM:
17                                                       17
   self-defense.                                               Q. I guess you say a beneficial feature on
18                                                       18
          Would the net advantage of less time              a military firearm. I guess my question is,
19                                                       19
   required to recover control of the rifle after           could it also be a beneficial feature on a
20                                                       20
   firing help you in that situation?                       nonmilitary firearm?
21                                                       21
      A. Again, engaged in self-defense? I                     A. It could be.
22                                                       22
   mean, in what kind of scenario? In a home, out              Q. So the features we've discussed so far,
23                                                       23
   on the street? Can you give me -- multiple --            both just now and throughout the rest of the
24                                                       24
      Q. I'm sorry.                                         deposition, these five features, in your opinion
25                                                       25
      A. Are there multiple assailants? Is                  do they contribute to making firearms more
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James E. Yurgealitis                                                              11/17/2022
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                                                                             Page 16 (58 - 61)
                                                 Page 58                                                Page 60
 1 dangerous than they would be if they didn't have        1
                                                              completely different animals.
 2 these features?                                          2
                                                              BY MR. BERGSTROM:
 3       MR. ADELMAN: Objection; form of the                3
                                                                 Q. Sure. I misspoke. What I'm referring
 4     question.                                            4
                                                              to is a category of assault weapons in this case
 5 BY THE WITNESS:                                          5
                                                              defined by Cook County and there are features
 6    A. Any firearm -- I mean, any firearm is              6
                                                              that, if present on a semiautomatic rifle, can
 7 dangerous potentially. So again, there is --             7
                                                              make it an assault weapon in Cook County,
 8 what do you mean by more dangerous than -- what          8
                                                              correct?
 9 is more dangerous -- what firearm is more                9
                                                                 A. Correct.
10 dangerous than another firearm essentially?             10
                                                                 Q. And we've been discussing those
11       Well, first of all, you've got to let             11
                                                              features. They are listed in the Cook County
12 me finish. But on top of that, you're giving me         12
                                                              Ordinance and you discussed them in this section
13 these terms that don't have -- you know, you're         13
                                                              of your report that we're looking at, correct?
14 not giving me something to compare it to.               14
                                                                 A. Correct.
15       You're saying is this more dangerous or           15
                                                                 Q. My question is, a semiautomatic rifle
16 less dangerous than another firearm? Well,              16
                                                              with those features which would be classed as an
17 which firearm? You're asking me questions that          17
                                                              assault weapon in Cook County, do these features
18 I'm happy to give you a full and truthful answer        18
                                                              contribute to making it more dangerous than a
19 to, but you're not giving me much to work with          19
                                                              rifle that does not have -- that does not have
20 here.                                                   20
                                                              those features and is not classed as an assault
21       So help me out a little bit. If you               21
                                                              weapon in Cook County?
22 want an answer from me, you're going to have to         22
                                                                     MR. ADELMAN: Objection; form of the
23 go a little further with me on this, because I          23
                                                                  question.
24 can't work with nebulous terms with no                  24
                                                              BY THE WITNESS:
25 measurement.                                            25
                                                                 A. Thanks for restating the question, but
                                                 Page 59                                                Page 61
 1                                                         1
   BY MR. BERGSTROM:                                          I don't -- what do you mean by more dangerous or
 2                                                          2
      Q. Sure. Again, I'm very sorry if I've                  less dangerous? What is --
 3                                                          3
   been cross-talking with you. I'm not trying to             BY MR. BERGSTROM:
 4                                                          4
   be difficult about this, but Cook County has                   Q. Well, if we can scroll down to page 31
 5                                                          5
   judged that the firearms we're talking about,              of your expert report here, 31 and 32, you say,
 6                                                          6
   these rifles, are classed as assault rifles and            "Assault Weapons as a General Threat to Public
 7                                                          7
   they are illegal to own in Cook County. Rifles             Safety," and you have this section where you say
 8                                                          8
   that don't fit this definition are not illegal             that these firearms are a general threat to
 9                                                          9
   to own and are not classed as assault weapons.             public safety.
10                                                         10
          So I guess my question would be, does a                    Do these features we've been discussing
11                                                         11
   rifle that has these features, is it more                  cause them to be a general threat to public
12                                                         12
   dangerous than a rifle that lacks these features           safety in a way that rifles that do not have
13                                                         13
   and is not banned?                                         these features would not be or...
14                                                         14
          MR. ADELMAN: Objection; form of the                     A. I'm sorry. I see where we are, where
15                                                         15
       question.                                              we are on the report, but your question is --
16                                                         16
   BY THE WITNESS:                                            it's a compound question. It's got -- I lost
17                                                         17
      A. Let's go back to the difficulty that                 you somewhere in there.
18                                                         18
   we're having in nomenclature here that we had at                  You know, I realize we're talking about
19                                                         19
   the beginning of this conversation. You used               features and you're trying to talk about
20                                                         20
   the term assault rifle initially and now you               dangerousness, but I don't -- can we -- let's go
21                                                         21
   switched over to using the term assault weapon.            back to the starting line on that question if
22                                                         22
          So I'm uncertain as to where we're --               you would please.
23                                                         23
   when the question starts with assault rifle and                Q. Sure. So the features we've been
24                                                         24
   ends with assault weapon, I'm not going to give            discussing from the Cook County Ordinance, if
25                                                         25
   you an answer because you're talking about two             present on a semiautomatic rifle that can accept
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                                                                             Page 17 (62 - 65)
                                             Page 62                                             Page 64
 1                                                   1
   a large capacity magazine, make it an assault       of the firearm and the performance of the
 2                                                   2
   weapon in Cook County, correct?                     ammunition, the amount of damage that it can do
 3                                                   3
      A. Correct.                                      to a human being and the ability to fire -- to
 4                                                   4
      Q. And in your report on pages 31 and 32         deliver a large amount of fire semiautomatically
 5                                                   5
   you opine that assault weapons are a general        makes it a threat to public safety, not the
 6                                                   6
   threat to public safety, correct?                   flash hider on its own or the flash hider in
 7                                                   7
      A. Yes.                                          combination in my opinion with, say, a barrel
 8                                                   8
      Q. Are the features that we've been              shroud.
 9                                                   9
   discussing the reason that those rifles are a             It's what it can do, and it can do a
10                                                  10
   general threat to public safety?                    lot of damage as you've seen in my report and
11                                                  11
      A. Are those features? You mean in               you have no doubt seen and read on your own
12                                                  12
   totality, in totality as a group of features, or    about a number of these mass casualty and mass
13                                                  13
   are you talking about some individual features      shootings, mass shooting incidents.
14                                                  14
   as opposed to other individual features as          BY MR. BERGSTROM:
15                                                  15
   mentioned in the Ordinance?                            Q. I think this is a good time to talk
16                                                  16
      Q. I think that's a good question, sir,          about the mass shootings you just mentioned. I
17
   that I would ask you. So an assault weapon, to 17 think it's a good topic for us to take up now.
18
   be an assault weapon in Cook County, they only 18 Let me find where that is in your report.
19                                                  19
   need to have one of the features plus being a             So I believe this is on page 15 of your
20                                                  20
   semiautomatic rifle with the ability to accept a    expert report, same exhibit, paragraph -- the
21                                                  21
   large capacity magazine, correct?                   penultimate paragraph on that page.
22                                                  22
      A. Yes.                                                "It is important to note the respective
23                                                  23
      Q. And you've opined that an assault                 characteristics of the 5.56 millimeter/.223
24                                                  24
   weapon is a general threat to public safety,            caliber cartridges that influenced the U.S.
25                                                  25
   correct?                                                Military's decision to switch over to it."
                                             Page 63                                             Page 65
 1                                                  1       What characteristics of the 5.56 or
      A. Correct.
 2                                                  2 .223 caliber cartridge make the military
      Q. So what causes an assault weapon to be
 3                                                  3 interested in them?
   a general threat to public safety? Is it those
 4                                                  4    A. Well, I mean, there are a number --
   features individually or those features
 5                                                  5 there were a number of reasons why. One of them
   collectively or do some of the features
 6                                                  6 was a soldier or a combatant carrying 100 rounds
   contribute more than others?
 7                                                  7 of smaller caliber ammunition -- well, you can
      A. Well, I mentioned --
 8                                                  8 carry more ammunition for the same amount of
          MR. ADELMAN: Objection; form of the
 9                                                  9 weight is what I'm trying to say. And when
       question.
10                                                 10 you're a combatant carrying 100 rounds is -- for
   BY THE WITNESS:
11                                                 11 the same amount of weight would be a benefit as
      A. I believe it's right there on page --
12                                                 12 opposed to carrying, say, 30 or 40 rounds of
   pages 31 and 32 of my report where there are
13                                                 13 these larger cartridge, you know, for the same
   things that play into it that you haven't
14                                                 14 amount of weight.
   mentioned, such as large capacity magazines,
15                                                 15       Additionally, when the military tested
   detachable large capacity magazines, or the
16                                                 16 the 5.56, they found that it had the capability
   ability to accept detachable large capacity
17                                                 17 to really create for the size of the bullet a
   magazines.
18                                                 18 horrendous wound channel when it impacts a human
          Also the common caliber for most, if
19                                                 19 target, and so the -- and I'll kind of use the
   we're talking about AR-15-type rifles, is .223
20                                                 20 same term that you might have used -- the
   or 5.56, and I stated -- in my report I talk
21
   about the performance of the ammunition. So you 21 lethality perhaps in a sense of the ability of
22                                                 22 that ammunition to wound, kill or incapacitate
   might be talking about -- I understand you're
23                                                 23 an enemy was as effective as larger cartridges
   saying, Well, does the flash hider make this
24                                                 24 that they had used in the past.
   rifle a threat to public safety?
25                                                 25    Q. So I believe they switched over from
          By itself, no. But the characteristics
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James E. Yurgealitis                                                              11/17/2022
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                                                                             Page 18 (66 - 69)
                                                 Page 66                                                   Page 68
 1                                                         1
   the 7.62 cartridge to the 5.56 cartridge; is               the example of a 9 millimeter bullet not doing
 2                                                          2
   that right?                                                this. Would that be because it's a slower
 3                                                          3
      A. Yes. When they adopted the AR-15                     bullet, is that right, when it's fired from a
 4                                                          4
   initially and then subsequently modified it as             handgun?
 5                                                          5
   the M16, they were replacing the -- basically                 A. Well, I just -- I think I put 9
 6                                                          6
   the .308 cartridge with a 5.56 millimeter                  millimeter in there just for a sense of
 7                                                          7
   cartridge.                                                 perspective. In terms of muzzle velocity, I
 8                                                          8
      Q. And so when you say that the 5.56                    didn't really comment. And if I did, please
 9                                                          9
   millimeter cartridge had a similar lethality to            point it out to me where I commented on what the
10                                                         10
   the cartridges they used in the past, do you               behavior of the 9 millimeter bullet is once it
11                                                         11
   mean the 7.62 cartridge or what are you thinking           hits a target as opposed to just commenting on
12                                                         12
   of?                                                        its velocity.
13                                                         13
      A. Well, the .308 is a 7.62 by -- I forget                 Q. I'm sure you're right. Yeah, you're
14                                                         14
   the longitudinal measurement.                              right. It was in the same paragraph you were
15                                                         15
      Q. 51 millimeters I think.                              just referencing, muzzle velocity.
16                                                         16
      A. Yes.                                                        So do you know, this tendency of 5.56
17                                                         17
      Q. So anyway, is that what you're                       bullets to yaw, is that a noted tendency in
18                                                         18
   comparing to when you say it was similarly                 other common cartridges that you're aware of?
19                                                         19
   lethal?                                                       A. Well, again, what common -- what
20                                                         20
      A. If it were not, I doubt that the                     cartridges are common cartridges that you're
21                                                         21
   military would have replaced it with a 5.56                using as a comparison?
22                                                         22
   millimeter cartridge if they did not find it                  Q. A cartridge you're aware of the
23                                                         23
   suitable or as effective as the cartridge it               tendency to yaw.
24                                                         24
   replaced.                                                     A. I mean, I'm aware of hundreds of
25                                                         25
      Q. In your report you talk about the way                different cartridges, so I'm kind of confused as
                                                 Page 67                                                   Page 69
 1
   the cartridge yaws or the bullet yaws on impact, 1 to -- do some yaw when they hit a target? Yes.
 2                                                      2 Do others not yaw when they hit a target? Yes.
   right, so it turns on its axis? What causes
 3
   that movement? What about the bullet makes it 3               But I can't -- if you're asking me to
 4                                                      4 produce a comparison and comment on a comparison
   do that?
 5                                                      5 without giving me a comparable, I'm kind of a
       A. Well, when it strikes -- there is two
 6                                                      6 little bereft of an opinion here.
   variables to consider. One is it's a lighter
 7                                                      7     Q. No, I know. I'm not asking you to
   bullet than what it replaced in terms of
 8                                                      8 produce a comparison. I'm just wondering if
   projectile weight and, secondly, it had a
 9                                                      9 this is a thing that's unique to 5.56
   similar, you know, give or take of a hundred
10                                                     10 cartridges, or if it's noted in others, what
   feet per second in terms of velocity. It had a
11                                                     11 would be another cartridge where a tendency to
   similar velocity.
12                                                     12 yaw is noted?
          So when you have a heavy -- when you
13                                                     13     A. There was a -- Heckler & Koch produced
   have a heavy slow bullet and it hits a target,
14                                                     14 a cartridge, I can't remember the exact caliber,
   it's not -- it does not deviate much from its
15                                                     15 but it is comparable to a 5.56 when they were
   path. It doesn't become inherently unstable
16                                                     16 competing for a military weapons contract or a
   when it strikes, say, for instance, a human
17                                                     17 military rifle contract where that bullet was
   being, whereas a lighter bullet moving at a
18                                                     18 also designed to yaw when it hit a human target,
   faster velocity is more likely to become
19
   unstable in the sense it will yaw or tumble when 19 and it actually had a -- the projectile actually
20                                                     20 had a scooped out profile at the tip, not in a
   it hits a target.
21                                                     21 traditional sense like a hollow point would
          So lighter and faster is not
22                                                     22 have, but it had a tip so that it went -- when
   necessarily going to poke a hole and go
23
   straight, where a heavier slower bullet would be 23 it impacted a human being, it would
24                                                     24 intentionally induce it to yaw, tumble, spin,
   more inclined to do so.
25                                                     25 et cetera.
       Q. Okay. I think in your report you use
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                                                                             Page 19 (70 - 73)
                                              Page 70                                                Page 72
 1                                                      1
          So that's one I could think of that              it doesn't have any effect on the cartridge or
 2                                                       2
   I've seen and that I've seen documented. I              the projectile.
 3                                                       3
   can't really think of another one off the top of           Q. Got it. Would a muzzle brake have any
 4                                                       4
   my head where I've done any reading that that           effect on it?
 5                                                       5
   was a tendency of the cartridge to do that.                A. It may.
 6                                                       6
       Q. Okay. Turn to your report on page --                Q. Would that be because it lengthens the
 7                                                       7
   at the very bottom of 16, it's mostly on page 17        barrel or why?
 8                                                       8
   you have a lengthy quote from Vincent DiMaio               A. No, not necessarily. It all depends on
 9                                                       9
   from Gunshot Wounds, and you discuss in detail          what the design of the muzzle brake is, how much
10                                                      10
   some of the wounds that can result from these           of the expanding gases behind the bullet are
11                                                      11
   .223 or 5.56 rounds.                                    vented out. It could have an effect on the
12                                                      12
          I think we've probably covered all of            performance of the ammunition. It may and it
13                                                      13
   it, but what features of the 5.56 round causes          may not, but without doing a comparison test
14                                                      14
   this kind of damage?                                    between two distinct examples, I couldn't tell
15                                                      15
       A. Well, I believe I answered that                  you by what and how much.
16                                                      16
   previously. It's a combination of the velocity             Q. Okay. How about a barrel shroud, would
17                                                      17
   and the bullet weight.                                  that have any impact?
18                                                      18
       Q. Do you recall what features -- are                  A. Impact upon?
19                                                      19
   there any features of the firearm itself that              Q. Upon the performance of the -- or on
20                                                      20
   would impact how a 5.56 round would act on              the way the 5.56 bullet acts on impact.
21                                                      21
   contact?                                                   A. The barrel shroud would not affect
22                                                      22
       A. I'm sorry. Can you repeat that,                  that, no.
23                                                      23
   please?                                                    Q. Would the presence of a pistol grip?
24                                                      24
       Q. Sure. So we've talked about the                  Same question.
25                                                      25
   features of the 5.56 bullet that make it act the           A. The pistol grip may have an effect upon
                                              Page 71                                                Page 73
 1 way it does.                                         1
                                                       -- it will not have an effect upon how fast the
 2        Are you going to see a difference          2
                                                       bullet is when it leaves the firearm, and it
 3 depending on what type of rifle it's fired from?  3
                                                       would not have an effect on whether that bullet
 4 Will that impact how it acts?                     4
                                                       is going to yaw when it hits a human target.
 5    A. You may see a difference if there is a      5
                                                          Q. Okay. I think the last one we talked
 6 -- if you took two AR-15s, one with a 10-inch     6
                                                       about is the thumbhole stock or some sort of
 7 barrel and one with a 20-inch barrel, you would   7
                                                       adjustable or collapsing stock. Would that have
 8 see a higher muzzle velocity from -- you would    8
                                                       an effect on either the velocity of the bullet
 9 -- the bullet leaving the longer barreled rifle   9
                                                       or the way it performs on impact?
10 will likely leave at a higher muzzle velocity    10
                                                          A. No.
11 than it would from a shorter barrel. So yes,     11
                                                          Q. So going back to the end of your expert
12 that would be a factor or an example of that.    12
                                                       report where you talk about the assault weapons
13    Q. Okay. How about the features that          13
                                                       as a general threat to public safety on pages 31
14 we've discussed now in the Cook County Ordinance 14
                                                       and 32, would you say that the type of
15 that are present on a semiautomatic rifle with a 15
                                                       ammunition used has a greater impact on whether
16 capacity to take a magazine -- a large capacity  16
                                                       an assault weapon is a threat to public safety
17 magazine would render it an assault weapon,      17
                                                       than the five features we've discussed today?
18 would any of those features -- say you had an    18
                                                              MR. ADELMAN: Objection to form of the
19 AR-15 with a forward protruding grip and an      19
                                                           question.
20 AR-15 without. Would that have any impact on     20
                                                       BY THE WITNESS:
21 how a 5.56 bullet would act?                     21
                                                          A. It is one of the factors that makes
22    A. It would not -- a protruding forward       22
                                                       assault weapons, if we're speaking in terms of
23 grip would not have any effect on the            23
                                                       AR-15 or AK-47 rifles, it's -- the ammunition is
24 performance characteristics of the ammunition.   24
                                                       a factor in my opinion that assault rifles are a
25        It's not a function of the -- I mean,     25
                                                       threat to public safety. It is not --
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James E. Yurgealitis                                                              11/17/2022
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                                                                             Page 20 (74 - 77)
                                              Page 74                                                    Page 76
 1                                                      1 said assault weapons are a general threat to
   BY MR. BERGSTROM:
 2                                                      2 public safety.   Would that be true of an AR-15
      Q. Okay.
 3                                                      3 chambered for .22 ammunition the same way it
      A. It is not the only reason. It's a
 4                                                      4 would be chambered for .223 ammunition?
   combination of factors as well as features that
 5                                                      5         MR. ADELMAN: Objection; foundation and
   cause me to render that opinion.
 6                                                      6      form of the question.
      Q. So can you say a little more about the
 7                                                       7 BY THE WITNESS:
   last part of that answer? What are the other
 8                                                       8    A. So you're asking would an AR-15-style
   features that cause you to render that opinion?
 9                                                       9 rifle chambered in .22 long rifle or .22 short
      A. Well, I stated them ten minutes ago or
10                                                      10 or .22 Magnum?
   so. We were talking about the fact that these
11                                                      11 BY MR. BERGSTROM:
   rifles, at least in terms of AR-15s, you can
12                                                      12    Q. .22 long rifle.
   change the magazine in seconds. If you get
13                                                      13    A. I would say that that is dangerous.
   really good at it, you can change it, swap out
14                                                      14 Does the ammunition have the same performance
   an empty one for a full one in fractions of
15                                                      15 characteristics as a .223 or 5.56 round?
   seconds when you practice it for awhile.
16                                                      16 Certainly not. But is it dangerous?
          The ability to accept a detachable
17                                                      17 Absolutely.
   magazine, a detachable large capacity magazine,
18                                                      18    Q. Well, like you said, all firearms are
   the ability to fire a rifle such as an AR-15
19                                                      19 dangerous. But in your opinion, you know that
   rifle rapidly, the ability and capability and
20                                                      20 assault weapons are a general threat to public
   performance characteristics of the ammunition at
21                                                      21 safety.
   least as far as .223 and 5.56 are concerned, and
22                                                      22        Would an AR-15 chambered at .22 long
   the resultant damage that that can cause to
23                                                      23 range be the same threat to public safety as the
   human beings, those are factors that you cannot
24                                                      24 AR-15 chambered for .223 ammunition?
   say one without the other, you might not get my
25                                                      25    A. Well, it's a different cartridge with
   -- you might not get the same answer out of me.
                                              Page 75                                                    Page 77
 1        But you have my opinion because it's --    1
                                                       different performance characteristics. So in
 2 or my opinion is such because it's the            2
                                                       terms of range and muzzle velocity, there is a
 3 combination of factors; the performance of the    3
                                                       significant difference. In terms of being able
 4 ammunition, the characteristics of the firearm    4
                                                       to potentially penetrate a public safety
 5 itself that cause me to render that opinion.      5
                                                       officer's body armor, it's not going to do that.
 6    Q. Understood. Thank you. So you can use       6
                                                             So if you're -- you know, it has a
 7 an AR-15-style rifle chambered in, you know,      7
                                                       different characteristic. It has different
 8 many different types of -- chambered from many    8
                                                       performance characteristics -- excuse me -- so
 9 types of ammunition.                              9
                                                       it would be a -- in my opinion it would not be
10        And am I understanding right that in      10
                                                       an equivalent of a threat to public safety as
11 your opinion, an AR-15-style semiautomatic rifle 11
                                                       the .223/5.56 would be.
12 chambered for, you know, .22 ammunition would be 12
                                                          Q. If you were advising Cook County or a
13 less dangerous than had it been chambered for    13
                                                       county without an ordinance, say a county comes
14 .223?                                            14
                                                       to you and says, We want to ban particularly
15        MR. ADELMAN: Objection to form of the     15
                                                       dangerous assault weapons, I think you just told
16     question.                                    16
                                                       me that you think the interchangeability of
17 BY THE WITNESS:                                  17
                                                       magazines, the ability to accept detachable
18    A. I don't -- again, I don't mean to be       18
                                                       larger capacity magazines, the performance
19 repetitive, but I don't know what you mean by    19
                                                       characteristics of certain types of ammunition
20 less dangerous and more dangerous. All firearms  20
                                                       contribute to making assault weapons dangerous.
21 are dangerous potentially. All firearms can,     21
                                                             So my question is -- it's a long
22 you know -- all firearms can damage, wound, maim 22
                                                       lead-up to a short question -- what features
23 and kill, so they're all dangerous.              23
                                                       would you tell a county looking to ban assault
24 BY MR. BERGSTROM:                                24
                                                       weapons to focus on in their ban?
25    Q. Would you say -- in your opinion you       25
                                                             MR. ADELMAN: Objection; form of the
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James E. Yurgealitis                                                              11/17/2022
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                                                                             Page 21 (78 - 81)
                                             Page 78                                               Page 80
 1                                                     1
       question and that it goes beyond the scope                MR. ADELMAN: Objection to form.
 2                                                      2
       of his report.                                     BY THE WITNESS:
 3                                                      3
   BY MR. BERGSTROM:                                         A. Fully automatic firearms have not been
 4                                                      4
      Q. If you have an answer, Mr. Yurgealitis,          around as -- well, they have not been around as
 5                                                      5
   I'd like to hear it.                                   long as machine guns. So, therefore, they have
 6                                                      6
      A. I don't have an answer for you                   not been possessed by people as long as
 7                                                      7
   honestly, and I would like to backtrack to the         semiautomatic firearms.
 8                                                      8
   beginning of the question. You said that I             BY MR. BERGSTROM:
 9                                                      9
   mentioned the interchangeability of magazines as          Q. I read this part already. On the
10                                                     10
   being a factor. I didn't.                              bottom of page 21 related to this case, the
11                                                     11
          I said that they could be --                    AR-15, M16, you begin the final paragraph:
12                                                     12
   interchangeability implies something other than               "Numerous Assault Weapons as defined
13                                                     13
   what I said which was the ability to change               under the Ordinance available for purchase
14                                                     14
   magazines. In other words, replace an empty               by the public are, save the lack of select
15                                                     15
   magazine with a full magazine or reload the               fire capability, identical copies of
16                                                     16
   rifle, as opposed to interchangeability which is          military firearms. As such they retain a
17                                                     17
   a different term, and I didn't want there to be           number of features originally designed to
18                                                     18
   any confusion in the record about that.                   maximize their effectiveness in combat."
19                                                     19
      Q. Thank you. And you're right. I'm                        And now I know we're going to get into
20                                                     20
   sorry. I misspoke.                                     a discussion of what it means to be dangerous or
21                                                     21
          On page 17 of your report you discuss           lethal, but without having to hopefully delve
22                                                     22
   the history of the creation of the AR-15 and the       into those topics too much, but is there a big
23                                                     23
   M16. And if you're on page 17, the last full           difference in terms of dangerous between a rifle
24                                                     24
   paragraph on the page, you say:                        that's fully automatic and one that's
25                                                     25
          "The difference between the military            semiautomatic?
                                             Page 79                                               Page 81
 1                                                     1
      and the civilian versions were removal of           A. Well, there is certainly mechanical and
 2                                                   2
      fully automatic capability."                     performance differences. Whether -- you give a
 3                                                   3
         Do you see that sentence?                     machine gun to a nine-year-old and a
 4                                                   4
      A. Yes.                                          semiautomatic rifle to an old man like me, I
 5                                                   5
      Q. Do you rate that as a significant             might be more dangerous than the kid is with a
 6                                                   6
   change in the functionality of a firearm?           machine gun. So there are other variables other
 7                                                   7
         MR. ADELMAN: Objection to form of the         than the rate of fire that determine how
 8                                                   8
      question.                                        dangerous, as you've been using the term
 9                                                   9
   BY THE WITNESS:                                     nonspecifically, actually could be.
10                                                  10
      A. Most certainly because it's the                      So again, if we're going to delve into
11                                                  11
   difference between a firearm under federal law      areas with broad sweeping generalizations -- but
12                                                  12
   and a machine gun under federal law.                go ahead.
13                                                  13
   BY MR. BERGSTROM:                                      Q. So understanding the big difference
14                                                  14
      Q. All right. And I think this is                between the AR-15 and the M16 is the lack of
15                                                  15
   probably where you're heading with that, but        select fire capability, correct? Do we agree on
16                                                  16
   semiautomatic rifles have traditionally been        that?
17                                                  17
   widely accepted as lawful possessions throughout       A. That is a major difference, yes.
18                                                  18
   America, right?                                        Q. Okay. Are the similarities that remain
19                                                  19
         MR. ADELMAN: Objection; form.                 more functional or cosmetic?
20                                                  20
   BY THE WITNESS:                                        A. They are a combination of both.
21                                                  21
      A. Again, people have -- yes, people have           Q. Okay. And I think -- I'd like to just
22                                                  22
   owned semiautomatic rifles for a long time.         go to the last exhibit I have today. It's the
23                                                  23
   BY MR. BERGSTROM:                                   "CBS News misinformation only facilitates
24                                                  24
      Q. But the same is not true of fully             misunderstanding" PDF.
25                                                  25
   automatic firearms, correct?                           ///
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James E. Yurgealitis                                                              11/17/2022
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                                                                             Page 22 (82 - 85)
                                             Page 82                                                Page 84
 1                                                     1
                  (Exhibit 5 was marked for                      "Illegal conversions of semiautomatic
 2                                                      2
                  identification.)                            rifles into machine guns often require
 3                                                      3
   BY THE WITNESS:                                            significant modification of their internal
 4                                                      4
      A. Yes, I have it in front of me if you                 mechanisms."
 5                                                      5
   wait for me to --                                          A. Yes.
 6                                                      6
   BY MR. BERGSTROM:                                          Q. When you say machine guns here, are you
 7                                                      7
      Q. Yeah. Do you recognize this?                     referring to select fire rifles?
 8                                                      8
      A. Yes.                                                    MR. ADELMAN: Objection; form.
 9                                                      9
      Q. Did you write this for LinkedIn?                 BY THE WITNESS:
10                                                     10
      A. Yes, I did.                                          A. A select fire rifle is a machine gun.
11                                                     11
      Q. You describe in this article -- you              BY MR. BERGSTROM:
12                                                     12
   said what a semiautomatic and a full automatic             Q. Okay. What sort of modification is
13                                                     13
   rifle is. And you say:                                 required to take a semiautomatic rifle and turn
14                                                     14
          "Although civilian versions of the              it into a machine gun?
15                                                     15
       AR-15 and AK type rifles may be                        A. It all depends on which rifle you're
16                                                     16
       cosmetically similar to full automatic AR          converting.
17                                                     17
       and AK types utilized by military forces               Q. Let's say you have a civilian AR-15
18                                                     18
       worldwide, they are not identical in the           semiautomatic rifle. What would it take to
19                                                     19
       way they function."                                convert it into a fully automatic rifle?
20                                                     20
          Do you see that?                                    A. Depending on when it was manufactured,
21                                                     21
      A. Just slow down a little bit. It's been           you would have to, or not, do some milling of
22                                                     22
   awhile since I read this. So where are we? Are         the lower receiver in order to make room for
23                                                     23
   we on the first page of that?                          additional fire control components. If -- well,
24                                                     24
      Q. It's the first full page of text. The            actually I'll make it really easy because I
25                                                     25
   first page is the LinkedIn logo. It's the              covered this on page 17 of my report wherein
                                             Page 83                                                Page 85
 1                                                     1
   second page of the document, the first paragraph       when Colt desired to sell a civilian version of
 2                                                      2
   under "full automatic."                                the AR-15 or M16, they had to make certain
 3                                                      3
      A. Okay. All right. Thank you. I just               changes to it.
 4                                                      4
   wondered what paragraph, under which --                       So the changes that are required to
 5                                                      5
      Q. I'm sorry. I should have given better            turn a semiautomatic one are basically take the
 6                                                      6
   directions at the beginning. So it's the final         list on page 17 that begins at the bottom of the
 7                                                      7
   sentence there, "Although civilian versions..."        page with No. 1, ends on page 18 with No. 9, and
 8                                                      8
         Do you see that sentence?                        go backwards.
 9                                                      9
      A. Yes.                                                Q. Just reverse it, okay.
10                                                     10
      Q. So what do you mean when you say                    A. Well, with certain exceptions in that
11                                                     11
   they're cosmetically similar but not identical         some receivers will require more milling out to
12                                                     12
   in the way they function?                              accommodate the trigger control parts.
13                                                     13
      A. Well, one is a machine gun, the other               Q. Got it.
14                                                     14
   one is a semiautomatic rifle. A machine gun                   MR. BERGSTROM: I realize we're close
15                                                     15
   functions -- although they may utilize the same            to lunchtime, but I don't think I have all
16                                                     16
   action, it functions differently than a                    that much more to ask about. If you're
17                                                     17
   semiautomatic does, which I'm sure you're aware.           okay continuing for another half hour or
18                                                     18
      Q. Yes. And so what does it mean to be                  so, I think we can probably finish this up.
19                                                     19
   cosmetically similar in this situation?                    Or if you'd like to take a break, we can
20                                                     20
      A. Cosmetically similar means they appear               take a break.
21                                                     21
   to have similar characteristics or they look the              THE WITNESS: If we can take just a
22                                                     22
   same.                                                      quick break only because I have a tendency
23                                                     23
      Q. If you look down at the next paragraph,              to drink a lot of water all day long.
24                                                     24
   right in the middle of the paragraph, the                     MR. BERGSTROM: Sure. Now is a good
25                                                     25
   sentence that says:                                        time for a break.
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James E. Yurgealitis                                                              11/17/2022
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                                              Page 86                                                        Page 88
 1               (Recess had from 11:45 to               1 compare them.
 2               11:50 a.m.)                             2   Q. Would it be a visual deterrent, the
 3 BY MR. BERGSTROM:                                     3 appearance of an AR-15?
 4    Q. Mr. Yurgealitis, I want to ask a couple         4      MR. ADELMAN: Objection; form.
 5 quick questions. In your report on page 28 you        5 BY THE WITNESS:
 6 talk about what firearms you recommend to people      6   A. Give me a scenario.
 7 who are asking you for advice about what to get       7 BY MR. BERGSTROM:
 8 for self-defense.                                     8   Q. Well, the same way you were describing
 9    A. Yes.                                            9 if you had an intruder or something break into
10    Q. And for home defense you say you would         10 your house and you had an AR-15 and they saw the
11 prefer a pump action shotgun loaded with             11 AR-15, do you think that would function as a
12 buckshot and revolvers for handguns; is that         12 visual deterrent?
13 right?                                               13   A. Are they breaking into your house
14    A. Well, yes. In the report I do, but             14 during -- an audible deterrent is an audible
15 note that I recommend a revolver for someone who     15 deterrent whether they're breaking into your
16 doesn't have a lot of experience or doesn't          16 house in the middle of the day or they're
17 regularly handle or shoot firearms.                  17 breaking into your house in the middle of the
18    Q. Would you recommend something different        18 night.
19 if someone did regularly handle firearms?            19      I don't believe that an AR-15 would be
20    A. If someone was familiar or regularly           20 a visual deterrent if it happened in the middle
21 shot and was very comfortable doing that, a          21 of the night and you couldn't see it.   Otherwise
22 semiautomatic pistol, there would be no reason       22 an AR-15 may or may not be an audible -- or a
23 why they shouldn't have that for a home defense      23 visual deterrent depending on the perpetrator,
24 weapon.                                              24 all things being equal.
25    Q. Okay. I'm going to talk about the              25   Q. Would that be true as well of an
                                              Page 87                                                        Page 89
 1                                                   1 audible deterrent to the perpetrator?
   shotgun first. You say on page 28 that the --
 2                                                   2    A. Well, I did state that. I said if they
   let me figure out where this is.
 3                                                   3 know what that sound is, then it would serve as
         It's at the very end of the second
 4                                                   4 an audible deterrent.
   paragraph from the bottom, that the loading
 5                                                   5    Q. How does recoil compare between, say,
   process itself is an audible deterrent.
 6                                                   6 an AR-15 and the Mossberg 500 that you reference
         What does that mean?
 7                                                   7 in your report?
      A. Well, if you have a pump action shotgun
 8                                                   8    A. An AR-15 has significant less recoil
   and it's loaded or prepared as I stated in the
 9                                                   9 than a Mossberg 500 would have.
   earlier part of that paragraph where it has an
10
   empty chamber, when you rack the slide back and 10 Q. How about maneuverability? How would
11                                                  11 that compare?
   forth, the bar action to load a shotgun shell
12                                                  12    A. Again, what's your definition of
   into the chamber, it's a very distinctive noise,
13                                                  13 maneuverability?
   and anyone who has been around firearms will
14                                                  14    Q. I think you've used it a couple times.
   know what I mean when I say that.
15                                                  15 The ability to -- I don't know if I can define
         It's an audible deterrent if you have,
16                                                  16 it more than that. The ability to maneuver with
   say, for instance, somebody breaking into your
17
   house and you rack a round into the shotgun and 17 a firearm in positions which could fire it.
18                                                  18    A. I mean, depending on the circumstances
   they are at all familiar with it, they're going
19                                                  19 you can either maneuver a firearm -- you can
   to know what they're facing when they come into
20                                                  20 maneuver with a firearm or not maneuver with a
   where you are.
21
      Q. Would an AR-15's appearance be a visual 21 firearm depending on what, you know, variables
22                                                  22 that are not in play in your hypothetical here.
   deterrent in the same manner?
23                                                  23       So if you're standing in a closet,
      A. Would the -- an audible -- an audible
24                                                  24 neither firearm is going to be maneuverable. If
   deterrent and a visual deterrent are not the
25                                                  25 you're standing in a garage with no cars in it,
   same thing, so I don't know how you could
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                                                                             Page 24 (90 - 93)
                                             Page 90                                                Page 92
 1                                                     1        A shotgun, the dispersal pattern when
   they are both maneuverable.
 2                                                      2 you fire it is like a flashlight. It's conical.
      Q. If you're at a house and you're dealing
 3                                                      3 It goes out, and as the shot travels, it expands
   with hallways of ordinary width in a house.
 4                                                      4 in an ever larger pattern. It's a flashlight
      A. I don't believe that in terms of a
 5                                                      5 versus shooting an AR which is like pointing a
   constricted environment, that a shoulder weapon
 6                                                      6 laser beam. You know, it's precise. It's one
   is necessarily the best home defense weapon in
 7                                                      7 round. It's going to go in a straight line.
   that kind of a situation. Hence, my reason for
 8                                                      8       So in a situation where you are trying
   recommending a couple different types of
 9                                                      9 to defend your home, you know, you might have 30
   handguns.
10                                                     10 rounds in your AR magazine versus six shotgun
      Q. Would you still recommend a pump action
11                                                     11 shells in your Mossberg 500, but your Mossberg
   shotgun to a small person, say, a 100 pound 5'2"
12                                                     12 500 with that conical pattern has more utility
   female?
13                                                     13 in a dark house in an emergency situation where
      A. I have met 5'2" females who handle a
14                                                     14 there is a lot of adrenaline pumping and you're
   12-gauge shotgun very well. I've worked with a
15                                                     15 not -- you're not trying to hit one person with
   few of them. It all depends on your exposure
16                                                     16 a laser beam. You're trying to hit them with a
   that you've experienced and your comfort level
17                                                     17 flashlight beam.
   around firearms.
18                                                     18    Q. To use your analogy, how big is the
         Shotguns don't only come in 12-gauge
19                                                     19 cone on that flashlight beam in a -- let's say
   models however, which I'm sure you're very
20                                                     20 you're in a home defense situation and you're
   aware. A 20-gauge shotgun with a lighter shot
21                                                     21 shooting at somebody who's 20 feet away from
   load or a not as powerful shotgun shell will
22                                                     22 you. How much of a difference is there going to
   produce significantly less recoil, and I have
23                                                     23 be between the flashlight-like beam and the
   found when I've been shooting with friends that
24                                                     24 laser beam?
   there are people who don't like the recoil from
25                                                     25    A. Well, there is going to be a
   a 12-gauge who are perfectly fine with the
                                             Page 91                                                Page 93
 1 recoil from a 20-gauge.                             1
                                                       significant difference between the spread of the
 2    Q. How about for frequency of reloading?       2
                                                       shot and the, you know -- and a shot from the
 3 How would it compare between an AR-15 and, say,   3
                                                       AR-15. I mean, I can't come up with a better
 4 a Mossberg 500?                                   4
                                                       analogy than a flashlight versus a laser beam.
 5    A. You said frequency of reloading?            5
                                                             Obviously, as you increase distance,
 6    Q. Yeah, in terms of how often you have to     6
                                                       the shot pattern from a shotgun expands and the
 7 reload.                                           7
                                                       shot from an AR-15 doesn't expand.
 8    A. Well, it would depend. I mean, most         8
                                                          Q. Gotcha. Understood. Regarding, you
 9 shotguns are going to carry five to seven rounds  9
                                                       know, that you prefer concealability over
10 of ammunition as opposed to -- I mean, and as    10
                                                       ammunition capacity, do you think someone who
11 far as an AR is concerned, it all depends on how 11
                                                       holds an AR-15-type firearm for self-defense
12 large of a magazine you put on it.               12
                                                       could ever use it in a concealed manner?
13    Q. Would there be a difference in the         13
                                                          A. Well, it's like I said before, you
14 difficulty of aiming the two firearms, the       14
                                                       know, you get a big enough box, you could put an
15 Mossberg 500 and the AR-15?                      15
                                                       elephant in it and conceal it. So I'm sure that
16    A. Well, here is the plus between the two     16
                                                       you can conceal an AR-15, and anything is
17 or the difference between the two that has an    17
                                                       concealable to a great degree.
18 advantage for one over the other. A shotgun      18
                                                          Q. Okay. You also note that it's better
19 shoots a large number of shot or more than one   19
                                                       in your opinion to be able to extricate yourself
20 projectile per pull of the trigger. An AR-15     20
                                                       from, you know, a firefight than it is to engage
21 shoots one round per pull of the trigger.        21
                                                       in a protracted gunfight. But let's say you're
22       Shooting a shotgun is like shooting a      22
                                                       in a home invasion scenario and extricating
23 large -- this is the best way I've been able to  23
                                                       yourself is not possible.
24 explain it to friends who are not that familiar  24
                                                             Would you rate ammunition capacity more
25 with firearms.                                   25
                                                       valuable in that situation than you would, say,
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                                            Page 94                                              Page 96
 1                                                   1                 (Recess had from 12:05 to
   if it was out in public? Would you prefer to
 2                                                   2                 12:08 p.m.)
   have more ammunition if you were not able to
 3                                                   3         MR. BERGSTROM: Well, I don't think I
   extricate yourself?
 4                                                   4     have anything else for you,
          MR. ADELMAN: Objection to form.
 5                                                   5     Mr. Yurgealitis. Unless counsel for Cook
   BY THE WITNESS:
 6                                                   6     County has questions, I might have some
       A. Above ammunition capacity, I would
 7                                                   7     after that, but thank you very much for
   prefer that if you're going to have a firearm in
 8
   the home, that you become somewhat of an expert 8       your time today. It's been very great
 9                                                   9     talking with you.
   in utilizing it. Shot placement is more
10                                                  10         THE WITNESS: Thank you.
   important than ammunition capacity, and
11
   certainly you can shoot -- you can shoot as many 11         MR. ADELMAN: Can we go off the record
12                                                  12     again just for a couple minutes so we can
   bullets as you have in the house, but if you
13                                                  13     confer, not with the witness, but so the
   don't hit something with it, it's meaningless.
14                                                  14     attorneys can confer.
   So ammunition capacity is not the cure-all.
15                                                  15         MR. BERGSTROM: Sure.
   BY MR. BERGSTROM:
16                                                  16                 (Recess had from 12:08 to
       Q. You recommend an HR revolver in -- a
17                                                  17                 12:12 p.m.)
   .357 Magnum in your report. How would that
18
   compare to an AR-15 in terms of ease of aiming 18           MR. ADELMAN: We have no questions and
19
   for somebody who is familiar but not an expert? 19      we will reserve signature. Could we get an
20                                                  20     expedited transcript.
          MR. ADELMAN: Objection; form.
21                                                  21         THE STENOGRAPHER: When would you like
   BY THE WITNESS:
22                                                  22     it?
       A. It's point and shot. You point it
23
   where you want the bullet to go and you squeeze 23          MR. ADELMAN: Two weeks is fine.
24                                                  24         THE STENOGRAPHER: Two weeks is
   the trigger. There is no safety to manipulate
25                                                  25     regular. There won't be an additional --
   in a high stress situation.
                                            Page 95                                              Page 97
 1        You don't have to tap the bottom of the    1        MR. ADELMAN: All right. So one week
 2 magazine to make sure that it's inserted fully.   2     then. Can we get it expedited for one
 3 There is no charging handle to pull back to load  3     week.
 4 the rif -- to load the revolver as opposed to     4        THE STENOGRAPHER: Okay. So one week
 5 the AR-15. And there are so many variables and    5     from today is Thanksgiving.
 6 additional things to consider in a self-defense   6        MR. ADELMAN: Yeah, that's right. So
 7 situation.                                        7     because of Thanksgiving, if we do it
 8        What if you need to grab your child and    8     regular, would we be able to get it the
 9 move to another room and still be able to shoot   9     Monday after Thanksgiving?
10 at an intruder? How are you going to do that     10        THE STENOGRAPHER: I can do either one.
11 with an AR-15? It's more easily done with a      11     Just let me know what you want.
12 handgun than it would be with a shoulder weapon, 12        MR. ADELMAN: Let's just have it by the
13 shotgun included. But again, it's -- a handgun   13     Monday after Thanksgiving and if that means
14 is infinitely more flexible in that kind of      14     by doing it regular, then that works.
15 situation, within the four walls of the box that 15        THE STENOGRAPHER: Okay.
16 you're constructing for the scenario.            16     Mr. Bergstrom, did you want the same type
17    Q. How would the amount of recoil compare     17     of delivery?
18 between a .357 Magnum, a handgun, and an AR-15? 18         MR. BERGSTROM: Yeah, same type of
19    A. A .357 Magnum is going to have more        19     delivery.
20 recoil, more felt recoil than an AR-15 would.    20               (Proceedings adjourned at
21        MR. BERGSTROM: Can we take just a         21               12:13 p.m.)
22     two-minute break so I can review my notes?   22         FURTHER DEPONENT SAITH NOT.
23     I think I'm just about done.                 23
24        MR. ADELMAN: Okay. Sure.                  24
25                                                    25


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 1   CERTIFICATE OF CERTIFIED SHORTHAND REPORTER
 2
 3       I, MARIANNE NEE, a Certified
      Stenographic Reporter of the State of
 4    Illinois, C.S.R. No. 084-002341, do hereby
      certify:
 5
         That previous to the commencement of
 6    the examination of the witness, the witness
      was duly sworn to testify the whole truth
 7    concerning the matters herein;
 8       That the foregoing deposition
      transcript was reported stenographically by
 9    me and thereafter reduced to typewriting
      under my personal direction;
10
         That the reading and signing of said
11    deposition was reserved by counsel for the
      respective parties and the witness;
12
         That the foregoing constitutes a true
13    record of the proceedings had and testimony
      taken, to the best of my abilities;
14
         That I am not a relative, employee,
15    attorney or counsel, nor a relative or
      employee of such attorney or counsel for
16    any of the parties hereto, nor interested
      directly or indirectly in the outcome of
17    this action.
      SIGNED THIS 27th DAY OF NOVEMBER, 2022.
18
19
20
          ____________________________
21        Marianne Nee, CSR, RPR, RDR
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22        Reporter
          Illinois CSR No. 084-002341.
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            Notice Date: 11/28/2022

            Deposition Date: 11/17/2022

            Deponent: James E. Yurgealitis

            Case Name: Cutberto Viramontes, et al. v.
                       The County of Cook, et al.

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                               CERTIFICATE OF DEPONENT

            I hereby certify that I have read and examined the

            foregoing transcript, and the same is a true and

            accurate record of the testimony given by me.

            Any additions or corrections that I feel are

            necessary, I will attach on a separate sheet of

            paper to the original transcript.



                                  _________________________

                                  Signature of Deponent

            I hereby certify that the individual representing

            himself/herself to be the above-named individual,

            appeared before me this _____ day of ____________,

            20__, and executed the above certificate in my

            presence.



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